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    9                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10                              SOUTHERN DIVISION
   11
   12    UNITED STATES OF AMERICA                       Case No: CV 13-5861 JLS (AJS)
         ex rel MARIA GUZMAN,
   13    STATE OF CALIFORNIA ex rel                     THIRD AMENDED COMPLAINT FOR
   14    MARIA GUZMAN,
                                                        VIOLATIONS OF THE FEDERAL
   15    STATE OF DELAWARE ex rel                       FALSE CLAIMS ACT STATE FALSE
         MARIA GUZMAN,                                  CLAIMS ACTS AND COUNTY AND
   16    DISTRICT OF COLUMBIA ex rel                    CITY FALSE CLAIMS ACTS
   17    MARIA GUZMAN
                                                        JURY TRIAL DEMANDED
   18    STATE OF FLORIDA ex rel
         MARIA GUZMAN,
   19    STATE OF GEORGIA ex rel
   20    MARIA GUZMAN,

   21    STATE OF HAWAII ex rel
         MARIA GUZMAN,
   22    STATE OF ILLINOIS ex rel
   23    MARIA GUZMAN,

   24    STATE OF INDIANA ex rel
         MARIA GUZMAN,
   25    STATE OF LOUISIANA ex rel
   26    MARIA GUZMAN,

   27    COMMONWEALTH OF
         MASSACHUSETTS ex rel
   28   584491.1                                          -1-
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    1    MARIA GUZMAN,
    2    STATE OF MICHIGAN ex rel
         MARIA GUZMAN,
    3
         STATE OF MINNESOTA ex rel
    4    MARIA GUZMAN,
    5    STATE OF MONTANA ex rel
         MARIA GUZMAN,
    6
         STATE OF NEVADA ex rel
    7    MARIA GUZMAN,
    8    STATE OF NEW HAMPSHIRE ex
         rel MARIA GUZMAN,
    9
         STATE OF NEW JERSEY ex rel
   10    MARIA GUZMAN,
   11    STATE OF NEW MEXICO ex rel
         MARIA GUZMAN,
   12
         STATE OF NEW YORK ex rel
   13    MARIA GUZMAN,
   14    STATE OF NORTH CAROLINA ex
         rel MARIA GUZMAN,
   15
         STATE OF OKLAHOMA ex rel
   16    MARIA GUZMAN,
   17    STATE OF RHODE ISLAND ex rel
         MARIA GUZMAN,
   18
         STATE OF TENNESSEE ex rel
   19    MARIA GUZMAN,
   20    COMMONWEALTH OF
         VIRGINIA
   21    ex rel MARIA GUZMAN,
   22    STATE OF WASHINGTON ex rel
         MARIA GUZMAN,
   23
         COUNTY OF ALLEGHENY ex rel
   24    MARIA GUZMAN,
   25    COUNTY OF BROWARD ex rel
         MARIA GUZMAN,
   26
         COUNTY OF MIAMI-DADE ex rel
   27    MARIA GUZMAN,
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    1    CITY OF CHICAGO ex rel MARIA
         GUZMAN,
    2
    3    Plaintiffs,
    4    v.
    5    INSYS THERAPEUTIC, INC.;
         MICHAEL BABICH, an Individual;
    6    ALEC BURLAKOFF, an Individual;
         JOHN N. KAPOOR, an Individual;
    7    and DOES 1 through 15,
    8    Defendants.
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    1   I.     INTRODUCTION
    2          1.      Qui tam relator Maria Guzman (“Guzman”), by her attorneys,
    3   individually and on behalf of the United States of America, the States of
    4   California, Delaware, Florida, Georgia, Hawaii, Illinois, Indiana, Louisiana,
    5   Massachusetts, Michigan, Minnesota, Montana, Nevada, New Hampshire, New

    6   Jersey, New York, North Carolina, Oklahoma, Rhode Island, Virginia,
        Washington, and the District of Columbia (the “States”), the Counties of Miami-
    7
        Dade, Allegheny and Broward and the City of Chicago(the “Municipalities”) files
    8
        this complaint against INSYS Therapeutics, Inc. (“INSYS”), Michael Babich, Alec
    9
        Burlakoff, John N. Kapoor, and DOES 1 through 15 (collectively, the
   10
        “Defendants”) to recover damages, penalties, and attorneys’ fees for violations of
   11
        the federal False Claims Act, 31 U.S.C. §§ 3729 et seq. (“FCA” or “False Claims
   12
        Act”), and the false claims acts of the States and Municipalities as set forth below.
   13
               2.        INSYS instituted a kickback-fueled off-label marketing campaign to
   14   induce doctors to prescribe INSYS’s drug SUBSYS, a powerful opioid agonist
   15   drug that stimulates activity at opioid receptors in the central nervous system
   16   normally stimulated by naturally occurring opioids. SUBSYS is a fentanyl
   17   product, in the opioid agonist family with such other drugs as morphine,
   18   oxycodone, and heroin. As a result of the Defendants’ conduct, SUBSYS is being
   19   marketed and prescribed far beyond its stated indication, which is limited to
   20   breakthrough cancer pain only, at a beginning dosage of 100 micrograms.
   21           3.     The FDA has contraindicated SUBSYS for several uses due to the risk
   22    of overdose and requires enrollment in a special program in order to prescribe this
   23    potent and addictive drug. INSYS’s off-label campaign, which includes the kiss
   24    of death message and encourages doctors to quickly titrate patients, has resulted in
   25    at least one pharmacist contacting the relator to ask her to return a patient to a
   26    lower, safer dosage. INSYS’s off-label marketing and financial inducements have
   27    been successful as many doctors write SUBSYS for contraindicated and off-label
   28     uses in Medicare and Medicaid patients, including for postoperative pain and back
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    1    pain, which is counter to FDA warnings of respiratory failure and death. INSYS
    2    also utilizes a mail order pharmacy that sends SUBSYS to patients who had not
    3    requested the drug and that does not properly instruct patients on the storage of
    4    SUBSYS, which can lead to children fatally ingesting the drug.
    5             4.     INSYS instituted programs throughout the country to provide
    6    inducements to doctors to prescribe SUBSYS over competitor medications. The
    7    inducements include monetary payments, trips to strip clubs and shooting ranges,
    8    stock options, hiring physicians’ significant others and expensive meals - all in
    9    violation of federal anti-kickback laws. One physician, Dr. Stuart Krost, was
   10    promised a $100,000 payment for his “support with SUBSYS” and INSYS spent
   11    $58,000 on meal expenses for doctors in just one month. INSYS, focusing on
   12    increasing its market share and generating high revenues, disregarded patient
   13    well-being. The company’s emphasis on profits over patients is evidenced by
   14    congratulatory emails sent to sales representatives that state, “Cha Ching again!”
   15    when a patient is prescribed SUBSYS for $40,000. SUBSYS sales were so strong
   16    that INSYS’s share price rose 850 percent from its May 2013 initial public
   17    offering to March 2014. Many of the INSYS executives have stock options for
   18    hundreds of thousands of dollars.
   19             5.     INSYS also maintains a work environment in which the male-
   20    dominated executive and management team frequently demean and berate female
   21    doctors who fail to prescribe “enough” SUBSYS in exchange for their kickbacks
   22    from INSYS. The company’s blatant disrespect for women is captured in a text
   23    message from INSYS Vice President of Sales Alec Burlakoff to the Relator
   24    regarding a female doctor in her territory: “She fuckn sucks kock mia! What else
   25    can I say! XOXOXO…I hate that stupid bitch – dr banchik!!!!!!!! I want to jerk
   26    off in her fuckn face! Joe would jerk off in her face, but his dick is too tiny for
   27    him to grab.” The same attitudes and behavior led to the harassment of female
   28    sales representatives.
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    1             6.     In connection with the filing of the original Complaint, Relator has
    2    furnished the United States with substantially all material evidence and
    3    information in Relator’s possession.
    4   II.      JURISDICTION AND VENUE
    5             7.     This Court has subject matter jurisdiction over this action under 31
    6    U.S.C. §§ 3730 and 3732. Although the issue is no longer jurisdictional under the
    7    2010 amendments to the FCA, to Relator’s knowledge, there was no statutorily
    8    relevant public disclosure of the “allegations or transactions” in Relator’s original
    9    Complaint. Further, even if such a disclosure had occurred, Relator is a
   10    statutorily-qualified “original source” of the allegations in this Complaint. Before
   11    filing this action, Relator voluntarily disclosed and provided to the Government
   12    the information on which the allegations or transactions in this action are based.
   13    Additionally, Relator has knowledge about the misconduct alleged herein that is
   14    independent of, and that would materially add to, any publicly disclosed
   15    allegations or transactions that may prove to have occurred without her
   16    knowledge.
   17             8.     This Court has personal jurisdiction over the Defendants pursuant to
   18    31 U.S.C. § 3732 (a) because the Defendant transacts business in this judicial
   19    district.
   20             9.     Venue is proper in this District pursuant to 31 U.S.C. § 3732 (a) and
   21    under 28 U.S.C. § 1391(c) because the Defendant transacts business in this
   22    judicial district.
   23   III.     PARTIES
   24             10. Relator Maria Guzman is a citizen of the United States and a resident
   25    of Clayton, North Carolina.
   26             11. Relator resided in Florida until June 2013.
   27             12. Guzman began working for INSYS in January 2012 as a Specialty
   28     Sales Professional and was fired in July of 2013.
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  1           13. At all times material hereto, John N. Kapoor was the Founder and
  2    Executive Chairman of INSYS, and held the majority of its shares. He exercised
  3    his authority to direct and control many of the activities described herein. Kapoor
  4    was adamant that doctors selected for the speakers program actively prescribe
  5    SUBSYS. In addition, Kapoor was aware of and supported the sales initiative to
  6    push doctors to prescribe only the higher 400 mcg dose rather than 100 or 200
  7    mcg doses.
  8           14. At all times material hereto, Michael Babich was the Chief Executive
  9    Officer of INSYS, and exercised his authority to direct and control many of the
 10    activities described herein.
 11           15. Michael Babich has served as President since November 2010 and
 12    was appointed Chief Executive Officer in March 2011. From March, 2007 until
 13    his appointment as President of INSYS Therapeutics, Babich was Chief Operating
 14    Officer and a Director of INSYS Pharma, Inc., a wholly owned subsidiary of
 15    INSYS Therapeutics Inc. He had previously worked at EJ Financial Enterprises,
 16    Inc., a venture capital firm founded by Defendant Kapoor.
 17           16. Alec Burlakoff was first hired by INSYS as a regional sales manager
 18    but in September of 2012 he was quickly promoted to national Vice-President of
 19    Sales. In that position Burlakoff exercised his authority to direct and control
 20    many of the activities described herein
 21           17. Before coming to sell INSYS’s opioid, Burlakoff had been employed
 22    selling opioids for Cephalon Inc., which in 2008 pleaded guilty to criminal
 23    charges for the illegal marketing of the opioid Actiq. In illegally marketing Actiq,
 24    Cephalon had its sales representatives (a) call on physicians who would not
 25    normally prescribe the drugs in the course of their practice; (b) prompt the doctors
 26    to initiate conversations about off-label uses; (c) tell doctors how to document
 27    their off-label uses to get the drugs paid for by Medicare, Medicaid, and private
 28     insurers; and (d) send prescribing doctors to lavish “consultant” meetings.
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  1    Cephalon also underpaid its sales representatives, and then offered them sizeable
  2    sales-based bonuses to encourage off-label sales.
  3           18. Burlakoff helped manage Cephalon’s sales of Fentora, a fentanyl-
  4    based drug that Cephalon sold after the Actiq scandal broke. Many of the
  5    marketing strategies Burlakoff promoted to sell SUBSYS were the same as those
  6    he practiced while at Cephalon.
  7           19. Defendant INSYS Therapeutics, Inc. is a specialty pharmaceutical
  8    company headquartered at 444 South Ellis Street, Chandler, Arizona, 85224.
  9           20. INSYS is incorporated in Delaware at 1209 Orange Street, City of
 10    Wilmington, County of New Castle, Delaware, 19801.
 11           21. Relator is informed and believes and based thereon alleges that each
 12    of the entities identified as Does 1-15, inclusive, were the employers, agents,
 13    contractors, directors, or otherwise responsible for the acts alleged herein. Their
 14    identity is unknown at this time and will be set forth later when it is known.
 15           22. INSYS has only two FDA approved products: SUBSYS (a powerful
 16    opioid medication) and SYNDROS, (a cannabinoid medicine).
 17           23. SUBSYS is a fentanyl sublingual spray: a proprietary, single-use
 18    product that delivers fentanyl, and opioid analgesic, in seconds for transmucosal
 19    absorption under the tongue.
 20           24. Transmucosal immediate-release fentanyl (“TIRF”) products
 21    generated $440 million in U.S. sales in 2010 and INSYS believes this market has
 22    the potential to expand with its faster-acting fentanyl product, SUBSYS.
 23           25. In March 2011, INSYS submitted a New Drug Application to the
 24    Food and Drug Administration (“FDA”) for Fentanyl SL Spray for the treatment
 25    of breakthrough cancer pain in opioid-tolerant patients.
 26           26. The FDA approved SUBSYS for the limited use of relieving
 27    breakthrough cancer pain, which is characterized by sudden, often unpredictable,
 28     episodes of intense pain that can peak in severity despite pain medication.
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  1             27. SUBSYS was approved for sale on January 5, 2012 and was made
  2    publicly available on March 26, 2012.
  3             28. On May 7, 2013, 5 days after its initial public offering of common
  4    stock, INSYS closed the offering as all 4,600,000 shares had been sold, with
  5    aggregate gross proceeds of $36.8 million.
  6             29. INSYS’s Executive Team is comprised of three men. In 2013, the
  7    INSYS Board of Directors had seven male members; there were no females on the
  8    Executive Team or the Board and very few female managers.
  9             30. The absence of women in leadership roles at INSYS contributes to the
 10    rampant sexual harassment and the hostile work environment for its female
 11    employees, including sales representatives experiencing unwanted sexual
 12    comments from executives and management sending sexually explicit text
 13    messages to female members of their sales team.
 14             31. The INSYS Code of Conduct states that, “INSYS values a work
 15    environment that is free of any form of harassment…[which] can include
 16    unwelcomed sexual conduct, threats or offensive comments.”
 17   IV.      FACTUAL ALLEGATIONS
 18                          Work History and INSYS’s Hiring Strategies.
 19             32. In January 2012, Guzman began working for INSYS as a Specialty
 20    Sales Professional.
 21             33. Until 2014, Guzman remained on the INSYS South East Region sales
 22    team, with her territory in the West Palm Beach area of Florida.
 23             34. Before serving as a sales representative for SUBSYS, Guzman did not
 24    possess any pharmaceutical sales experience: Guzman earned her Bachelor’s
 25    degree in Education and Dance, worked for G&K Services (a company that
 26    provides work uniforms), and was a Marketing Associate for Corporate
 27    Counseling Associates.
 28
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  1             35. It was INSYS’s standard practice to hire individuals without
  2    pharmaceutical experience as sales representatives.
  3             36. INSYS Specialty Sales Professionals who lack previous
  4    pharmaceutical experience are unfamiliar with compliant marketing standards and
  5    practices.
  6             37. In or around late 2012, INSYS hired Lillian Logatti, a dental hygienist
  7    who lacked pharmaceutical sales experience, as a South East Region sales
  8    representative.
  9             38. It has been implied by company management and employees that
 10    INSYS apparently hired Logatti to have sexual relations with doctors in exchange
 11    for SUBSYS prescriptions, For example, Joe Rowan, the Southeast Regional
 12    Sales Manager told Dr. Bart Gatz that she (Logatti) was as “dumb as rocks,” but
 13    that she was sleeping with another doctor and “getting a lot of prescriptions out of
 14    him.” During the April 2013 National Sales Conference Rowan publicly stated
 15    that Logatti had been “out there working it” in regards to forming relationships
 16    with her doctors.
 17             39. Aside from recruiting individuals who lack pharmaceutical sales
 18    experience, INSYS has also hired many former Cephalon, Inc. employees who
 19    were familiar with that company’s improper marketing approaches. One such
 20    employee was Karen Hill, who became INSYS’s national trainer for sales and
 21    actively promoted INSYS’s aggressive off label marketing strategy.
 22             40. On or around September 29, 2008, the Department of Justice (“DOJ”)
 23    announced a $435 million settlement to resolve off-label marketing claims relating
 24    to Actiq, a TIRF product, and two other drugs.
 25             41. On or around September 29, 2008, the DOJ stated that $375 million of
 26    the plea agreement was to resolve False Claims Act allegations arising from
 27    claims to Medicaid, Medicare, and other federal programs.
 28
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  1          42. Like the SUBSYS label, the Actiq label stated that the drug was for
  2    opioid tolerant cancer patients with breakthrough cancer pain, to be prescribed by
  3    oncologists or pain specialists familiar with opioids.
  4          43. Cephalon utilized the mantra “pain is pain,” and instructed Actiq sales
  5    representatives to focus on physicians other than oncologists and to promote Actiq
  6    for uses other than breakthrough cancer pain.
  7          44. INSYS employees also promote this motto and target doctors other
  8    than oncologists.
  9          45. In December 2011, INSYS hired Matt Napoletano (“Napoletano”), a
 10    former Cephalon executive who led the launch for several of its pain products, as
 11    its Vice President of Marketing.
 12          46. In or around November or December 2012, INSYS hired former
 13    Cephalon employee Dan Tondre (“Tondre”) as a Specialty Sales Professional.
 14          47. During a conference call in late 2012 or early 2013 with other Special
 15    Sales Professionals and managers, Tondre described how he sold INSYS drugs to
 16    doctors, stating that, “Pain is pain. It does not matter whether it is back pain or a
 17    migraine. Pain is pain and SUBSYS treats pain.”
 18          48. INSYS management frequently praised Tondre for his success at
 19    Cephalon and instructed other sales representatives to follow his lead in the
 20    marketing of SUBSYS.
 21          49. In December 2012, Rowan sent a text message to the South East
 22    Region sales team congratulating Tondre for making a 1200 mcg SUBSYS sale
 23    and then stating that Tondre was “asking for the business wow…it works…let’s
 24    get them Southeast.”
 25          50. INSYS hired other former Cephalon employees, many of whom
 26    handled marketing for that company, including Vice President of Sales Alec
 27    Burlakoff, Specialty Sales Professional and National Trainer Karen Hill, Specialty
 28     Sales Professional and Regional Sales Manager for the South East Region Joseph
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  1    Rowan, Specialty Sales Professional and Regional Trainer Nannette Alonzo,
  2    Special Sales Professional Marcus Seiferith, and Medical Marketing
  3    Communications Senior Manager Desiree Hollandsworth.
  4             51. INSYS assembled a team of employees who were either recruited
  5    from a pharmaceutical company that settled a multi-million dollar off-label
  6    marketing lawsuit, or were individuals without any pharmaceutical sales
  7    experience or familiarity with compliant marketing standards.
  8             52. Babich praised the hiring strategy, stating “The majority of our sales
  9    reps have no prior pharmaceutical experience. We think that is very important
 10    from the perspective of “they are out there delivering a message.”
 11             53. Burlakoff effected and supported Babich’s marketing strategy.
 12    INSYS, for example, hired Sunrise Lee, a former dancer at a Florida strip club as
 13    a sales executive. Ms. Lee also managed an escort service and had no academic
 14    degree. Burlakoff defended the decision, claiming “Doctors really enjoyed
 15    spending time with her and found Sunrise to be a great listener.” “She’s more of a
 16    closer,” he added praising her “empathy”.
 17             54. Babich also established a compensation system certain to induce
 18    misbehavior. Under Babich, INSYS established sales force incentives which
 19    inverted the typical pharmaceutical industry compensation structure. Although
 20    typical pharmaceutical reps earn salaries in the $80-90,000 range with a potential
 21    for $30-40,000 in bonuses, SUBSYS reps earn only $40,000 in salary with a
 22    potential $72,000 in bonuses. Babich boasted that SUBSYS’s 38% sales growth
 23    between the third quarter and the fourth quarter of 2013 was “strong testimony to
 24    the success of this approach.”
 25             55. Babich’s carrot was paired with Burlakoff’s stick. Burlakoff
 26    frequently threatened to fire any sales representative who did not obtain at least
 27    one new prescription written every day.
 28
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  1             56. INSYS also established relationships with and speaker programs for
  2    former Cephalon high prescribers, including Doctor Stuart Krost (“Dr. Krost”),
  3    Doctor Bart Gatz (“Dr. Gatz”), and Doctor Lisa Banchik (“Dr. Banchik”).
  4                    The INSYS Business Model and Kickbacks to Doctors.
  5             57. After Burlakoff arrived at INSYS, the speaker program became an
  6    overt kickback program. Physician speakers were sometimes paid even though
  7    there was only a single attendee. Relator is informed and believes and based
  8    thereon alleges that Burlakoff told the sales staff that the purpose of the speaker’s
  9    program was to “put money into the pockets” of doctors
 10             58. Under Burlakoff, the INSYS business model consists of providing
 11    doctors with substantial compensation – including, stock options, strip club trips,
 12    and hiring physicians’ significant others – so that the doctor then returns the
 13    “favor” to the sales representative by prescribing SUBSYS. One physician was
 14    even offered $100,000 in payments.
 15             59. In or around March 2013, National Trainer Karen Hill created a
 16    PowerPoint presentation (“2013 PowerPoint”) for Specialty Sales Professionals
 17    which illustrates the centrality of payoffs, such as instructing representatives to
 18    target Drs. Lee and Arcila for more lucrative speaking opportunities and stating
 19    that Drs. Kornick, Kramarich, and Khanna will be paid through more
 20    preceptorships (which usually entail allowing a representative to shadow the
 21    doctor but which INSYS is using as another marketing tool).
 22             60.     The 2013 PowerPoint contains several pictures of doctors out
 23    drinking with INSYS staff.
 24             61. The 2013 PowerPoint outlines what “hot buttons” representatives
 25    should utilize with doctors, such as “$” and “hanging out.”
 26             62. The 2013 PowerPoint provides “special notes” about the doctors and
 27    ways to increase sales with them such as “loves to party.”
 28
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  1             63. The 2013 PowerPoint highlights “challenges” that representatives will
  2    face with some of the doctors such as “very conservative and cautious…continue
  3    challenging her thinking” as well as “potential” with some physicians, such as
  4    “good with increasing strengths.”
  5             64. In July 2012, Vice President for Sales Alec Burlakoff sent a text
  6    message to Guzman stating, “I know pedro [Dr. Charles Huang’s physician’s
  7    assistant] very well also…He’s the one who probably writes the most. Let’s take
  8    pedro out for some fun! I bet you he would LOVE to smoke with us!”
  9             65. INSYS’s tactics have resulted in doctors recommending and writing
 10    SUBSYS prescriptions for their patients, including those on Medicare and
 11    Medicaid, in exchange for kickbacks, and often times switching patients from
 12    Actiq, SUBSYS’s competitor.
 13                                  Kickbacks and Speaker Programs
 14             66. One of the primary ways INSYS provides doctors with kickbacks for
 15    prescribing SUBSYS is through its speaker programs.
 16             67. INSYS speaker programs consist of the doctors giving presentations
 17    to others regarding their experience with SUBSYS and in return they receive a
 18    speaker fee.
 19             68. INSYS officially states that speaker programs are based on clinical
 20    experience, and not on the amount of SUBSYS the doctor prescribes. However,
 21    John Kapoor, INSYS’s founder and executive chairman, instructed Burlakoff that
 22    SUBSYS speakers should support and show belief in the product or they would
 23    have to be removed from the speaker program. This support and belief was
 24    evidenced by high prescriptions.
 25             69. In July 2012, Burlakoff sent a text message to several sales
 26    representatives in which he stated “we have done all these programs and we are
 27    flat in sales…Are our speakers doing their part…We must hold our speakers
 28
      584458.1                                              -11-
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  1    accountable, programs are going to begin to get cancelled very quickly…Clearly,
  2    we have done a poor [job] setting proper expectations for our speaker.”
  3             70. In July 2012, Burlakoff sent Guzman a text message stating, “Don't
  4    worry about Dr Banchik or Dr Vendryes's speaking abilities. They do not need to
  5    be good speakers, they need to write a lot of Subsys.”
  6             71. In December 2012, Burlakoff sent the following text message: “Mia -
  7    just wanted to make sure you know that Dr Banchik is taking you for a ride. She
  8    doesn't produce shit for units or dollars. She needs to understand you can't keep
  9    giving her programs, when gatz has truly earned them! Show her the numbers!”
 10             72. During the April 2013 conference, Rowan explained how he would
 11    like the speaker program ran, instructing representatives not to take doctors to
 12    Ruth’s Chris Steakhouse or other expensive restaurants because he did not want a
 13    large amount of money spent on “dipshits that aren’t going to write,” but would
 14    rather keep that money in the budget to spend on other doctors for “better uses.”
 15             73. The INSYS Code of Conduct states that the company must “monitor
 16    all fees, payments, and compensation paid for advisory, consulting or other
 17    services to avoid even the appearance of inappropriate influence.”
 18             74. The INSYS Certificate of Compliance states, “INSYS has established
 19    an annual spending limit of $1,500 on meals and educational items which may be
 20    provided to a healthcare professional.” Fees from services to such healthcare
 21    professionals are excluded from this amount but are always based on fair market
 22    value…items of nominal value (less than $10) or financial support for educational
 23    programs are also exempt from this amount.”
 24             75. In April 2013, Burlakoff sent Dr. Krost a text message which stated,
 25    “Dr. Krost…I know it[’]s not a lot to you, but I can commit to 100K to you via
 26    speaker programs or meals toward your restaurant. We don’t need the food, just
 27    charge our card and give [a]s an itemized receipt. Just need your support on
 28    subsys.”
      584458.1                                              -12-
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  1             76. In October 2012, Burlakoff sent Guzman a text message and an email
  2    stating that Dr. Krost would earn $1,600 per program and that INSYS would hold
  3    all of Dr. Krost’s programs in the restaurant he owns, to persuade him to switch
  4    his Aqtiq patients to SUBSYS.
  5             77. In October 2012, Burlakoff indicated to Guzman in a text message
  6    that INSYS would pay Dr. Gatz $750 per hour for trainings conducted via
  7    telephone.
  8             78. In December 2012, Burlakoff sent Guzman a text message stating that
  9    INSYS paid Dr. Gatz $36,000 in one quarter for speaker programs.
 10             79. The doctors affiliated with INSYS participate in the speaker programs
 11    because of the substantial payments and kickbacks they receive, rather than their
 12    belief in the benefit of the drug for cancer patients.
 13             80. In September 2012, Burlakoff sent Guzman a text message indicating
 14    that “I think dr krost would want to speak, he loves money.”
 15             81. On August 16, 2012, Dr. Banchik sent a text message to Guzman
 16    thanking her for a “fun night” and stating “I just wish I had more MD`S that can
 17    write it themselves but these people will refer to me to write it for them.”
 18             82. In 2012, Dr. Banchik received speaker fees and referrals from
 19    participating in the INSYS speaker programs, and because she then obtained more
 20    patients through these referrals, she was able to prescribe more SUBSYS and in
 21    return earn more speaker programs and fees from INSYS.
 22             83. In September 2012, Dr. Banchik indicated how important these
 23    speaker fees were to her when she sent a text message to Burlakoff asking why
 24    INSYS had failed to pay her for her program, stating, “I am not happy Alec.”
 25             84. In September 2012, Dr. Gatz sent Guzman an email inquiring about
 26    when he would be paid the $7,200 he was offered for three speaker programs in
 27    which he participated, as his honoraria check had been lost.
 28
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  1                      Strip Clubs, Shooting Ranges, Meals, and Referrals
  2             85. In addition to the program speaker fees that doctors receive for
  3    prescribing SUBSYS, INSYS also provides doctors with other kickbacks.
  4             86. On or around Friday, January 18, 2013, Burlakoff and Rowan treated
  5    Dr. Gatz to a strip club visit, where they purchased him two $500 private
  6    champagne room sessions, to ensure he continued prescribing SUBSYS.
  7             87. On or around January 19, 2013, Burlakoff sent Guzman a text
  8    message expressing that it “[w]ent fantastic last night. Bart and I got back around
  9    4 am.”
 10             88. Shortly after January 18, 2013, Rowan sent Dr. Gatz a text message
 11    stating, “Dr. Gatz, we appreciate you more than you could believe….Leaving that
 12    meeting Alec and I felt very confident and what was going to happen….And you
 13    show loyalty to us like no other…You need anything at all, it is done.”
 14             89. Dr. Gatz responded to Rowan’s text message in January 2013 with,
 15    “Thank you for the best weekend in years!!!”
 16             90. The strip club visit resulted in an increase in prescription volume, as
 17    Guzman reported to Burlakoff and Rowan on Wednesday, January 23, 2013, just
 18    five days later, that Dr. Gatz had already written 17 SUBSYS prescriptions in
 19    three days.
 20             91. Under its Code of Conduct, the $1,000 INSYS spent for private
 21    champagne room sessions would not qualify as payment for advisory services
 22    from Dr. Gatz nor would it qualify as gift of less than $100 designed for the
 23    patient or for educational purposes; it would fall under the category of prohibited
 24    recreational activity.
 25             92.      INSYS has also provided Dr. Gatz with many expensive dinners,
 26    stock options, lunches for his office, and a trip to a shooting range, which serves
 27    as part of a company-wide scheme to both encourage doctors to, and reward them
 28    for, prescribing SUBSYS.
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  1             93. From on or about July 2 to July 10, 2012, Dr. Gatz prescribed 120
  2    units of SUBSYS.
  3             94.   On July 18, 2012, Burlakoff instructed Guzman in a text message that
  4    she could take Dr. Gatz and “whoever out,” and that he would supply his credit
  5    card number for the dinner.
  6             95. From on or about July 23 to July 30, 2012, Dr. Gatz prescribed a total
  7    of 300 SUBSYS units.
  8             96. On or about October 10, 2012, INSYS provided Dr. Gatz’s office with
  9    lunch.
 10             97.   From on or about October 16 to October 30, Dr. Gatz wrote
 11    prescriptions for 720 units of SUBSYS.
 12             98. In or around November 2012, Rowan suggested that INSYS send top
 13    prescribing doctors Thanksgiving dinners. Thanksgiving dinners were provided to
 14    Dr. Gatz’ entire office staff. Insys correspondingly increased spending limits on
 15    sales representatives’ charge cards to cover this additional expense.
 16             99. During the April 2013 Arizona conference, Rowan and his South East
 17    Region sales team acknowledged how successful these meals were at growing
 18    prescriptions and, in particular, how Dr. Gatz’s Office Manager ensured that prior
 19    authorizations were completed after the meals were delivered.
 20             100. A January 2013 report sent to INSYS sales representatives indicates
 21    that the company spent over $58,000 on meal expenses for doctors, with Rowan
 22    and Burlakoff spending a total of approximately $15,000.
 23             101. The INSYS Code of Conduct states that “[m]eals may occasionally be
 24    provided to HPCs [health care professionals] so long as they are modest and
 25    shared at a reasonable location that is conducive to discussing educational
 26    information.”
 27             102. The INSYS Certificate of Compliance specifies that “INSYS has
 28     established an annual spending limit of $1,500 on meals” per provider.
      584458.1                                  -15-
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  1             103. The Compliance Guidance for Pharmaceutical Manufacturers states
  2    that “entertainment, recreation, travel, meals and other benefits…potentially
  3    implicate the anti-kickback statute if any one purpose of the arrangement is to
  4    generate business for the pharmaceutical company.”
  5             104. The INSYS Code of Conduct states that the company must “monitor
  6    all fees, payments, and compensation paid for advisory, consulting or other
  7    services to avoid even the appearance of inappropriate influence.”
  8             105. In the January 2013 email containing the expense report, Burlakoff
  9    stated that the representatives with the highest meal expenses should be ranked
 10    number one in their region and obtaining a “return on investment.”
 11             106. From on or about January 24 to February 5, 2013, Dr. Gatz prescribed
 12    a total of 670 SUBSYS units.
 13             107. On or about February 5, 2013, Rowan sent text messages to Dr. Gatz
 14    and Guzman asking, “Would you like to get a bite to eat? Somewhere spectacular!
 15    Maybe shoot guns before?”
 16             108. On or about February 19, 2013, Rowan took Dr. Gatz to the shooting
 17    range.
 18             109. From on or about February 19 to March 7, 2013, Dr. Gatz prescribed a
 19    total of 1010 units of SUBSYS.
 20             110. On or about March 11, 2013, Rowan sent Dr. Gatz a text message
 21    stating that he would take Dr. Gatz out to dinner anywhere he wanted, so that they
 22    could “eat and celebrate life.”
 23             111. INSYS also celebrated Dr. Gatz’s loyalty in recommending SUBSYS
 24    by providing him with stock options.
 25             112. In early 2013, Dr. Gatz had a conversation with Guzman regarding the
 26    stock options INSYS had offered her and she ascertained from his excited tone
 27    and knowledge of managing this particular stock that he was also receiving such
 28    options.
      584458.1                                              -16-
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  1             113. On February 19, 2013, Guzman’s belief that Dr. Gatz was receiving
  2    stock was confirmed by a conversation that she heard between Rowan and Dr.
  3    Gatz while the three were out at the shooting range and dinner, a conversation in
  4    which Rowan told Dr. Gatz that “INSYS takes care of its people” and that “I
  5    [Rowan] have stock options, [Guzman] has stock options, and you will have stock
  6    options.”
  7             114. During the conversation regarding the stock options, Dr. Gatz also
  8    indicated that he would like a position with INSYS and a home in Arizona, and
  9    Rowan reiterated that “INSYS takes care of its people.”
 10              Hiring a Doctor’s Significant Other, Family Member, or Friend
 11             115. In addition to the monetary and meal kickbacks, INSYS also
 12    encourages doctors to subscribe SUBSYS by hiring their significant others or
 13    family members.
 14             116. On or around August 18, 2012 Burlakoff sent a text message to Dr.
 15    Charles Huang (“Dr. Huang”) stating “I need to know if Paula [Dr. Huang’s
 16    girlfriend] would take a full time job working for me? I also could use a few
 17    Subsys prescriptions. We have not seen anything, I want to have some fun!!!
 18    Can't do it w/o subsys scripts coming in at least once a day. Have Paula call me
 19    next week. Let's make it like the old days, turn the subsys switch on please Dr
 20    Huang!!...We mean what we say, just need you too (sic) get it going strong.”
 21             117. From on or about August 21, 2012 to August 22, 2012, Dr. Huang
 22    prescribed 60 units of SUBSYS.
 23             118. INSYS hired Dr. Huang’s girlfriend, Paula, in or around fall 2012.
 24             119. On or about March 28, 2013, Rowan asked Guzman if she could
 25    recommend any sales representatives for the Nashville, Tennessee region, and
 26    stated that the only qualification that INSYS required was that the individual was
 27    eighteen years old and that he did not care if the person did not possess a college
 28    degree.
      584458.1                                              -17-
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  1             120. During the conversation regarding a Nashville sales representative on
  2    or around March 28, 2013, Rowan told Guzman that the individual could be
  3    “anyone as long as it was a doctor’s girlfriend, son or daughter,” and further that if
  4    the individual were “banging a doctor, that would be perfect.”
  5             121. Relator is informed and believes and based thereon alleges that
  6    Burlakoff had personal knowledge of INSYS hiring other sales representatives at
  7    the request of SUBSYS prescribers.
  8             122. Babich engaged in the same misconduct. Relator is informed and
  9    believes and based thereon alleges that Dr. Ruan in Mobile, Alabama promised
 10    Babich that if Babich hired Joe Rowan as a sales representative, Dr. Ruan would
 11    become the top prescriber of SUBSYS. Rowan was hired and assigned to Dr.
 12    Ruan, who did indeed become a top prescriber of Subsys for certain periods. Dr.
 13    Ruan’s partner, Dr. Couch, was also a top Subsys prescriber and the two doctors
 14    had ownership interest in a pharmacy that dispensed Subsys.
 15       Burlakoff Offered Physicians Lucrative Business Deals and Partnerships
 16             123. Relator is informed and believes and based thereon alleges that
 17    Burlakoff personally offered Gawin Awerbuch, M.D., financial incentives,
 18    including commissions based on the number of prescriptions and the strength of
 19    the dosage. These illegal incentives triggered a prescription-writing spree which
 20    did not abate until May of 2014 when Awerbuch was arrested for Medicare fraud
 21    and illegal distribution of controlled substances. By then Awerbuch had written
 22    1,283 prescriptions for Subsys for Medicare beneficiaries alone, costing Medicare
 23    nearly seven million dollars.
 24             124. Relator is informed and believes and based thereon alleges that
 25    Burlakoff gave the manager of a multisite pain management clinic an annual
 26    compensation package of $73,000 for the manager’s “contacts” while letting the
 27    manager keep the INSYS job secret from the pain management clinic.
 28
      584458.1                                              -18-
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  1                     Instructions for Avoiding Anti-Kickback Standards.
  2          125. Some INSYS managers and sales representatives were aware of the
  3    illegality of using kickback schemes to obtain SUBSYS sales, particularly the
  4    former Cephalon employees.
  5          126. During the April 2013 INSYS conference in Arizona, management
  6    and specialty sales professionals shared methods with one another on how to
  7    avoid anti-kickback standards.
  8          127. During the April 2013 conference, former Cephalon employee and
  9    INSYS National Trainer Hill stated that she would have a “legit [speaker]
 10    program” at an inexpensive restaurant where INSYS would provide her with $100
 11    to spend per person, and she would use that budget to purchase wine and instruct
 12    the restaurant staff to box the wine for the doctors to take home, remaining
 13    cautious as to how the doctors left with the wine.
 14          128. During a meeting at the April 2013 Arizona conference, Former
 15    Cephalon employee and Manager Rowan stated that he is able to order beer, wine,
 16    cigars, and expensive meats through his friend who owns a delicatessen, and that
 17    him and another employee have been “doing this for years,” which is one of the
 18    reasons he hired that employee.
 19           129. After informing his sales team about his delicatessen owner friend at
 20    the 2013 conference meeting, Rowan then asked his representatives, “do you think
 21    he runs it through as a cigar or a filet mignon? No. He runs it across as, you figure
 22    the rest out.”
 23           130. During the April 2013 meeting, Rowan indicated that the
 24    representatives would receive more of a benefit from providing the doctor and his
 25    or her family with some filet mignons and bottles of wine than by providing a
 26    lunch to the office.
 27           131. During the 2013 conference meeting, Rowan stated that he used his
 28     friend to order expensive products and then used them to encourage physicians to
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  1    prescribe SUBSYS, providing the example of how he inconspicuously placed a
  2    cooler filled with filet mignons by Dr. Couch’s desk and then told the doctor
  3    “thank me later.”
  4           132. After Rowan described his methods for avoiding kickback standards
  5    during the 2013 conference meeting, Hill instructed that the representatives should
  6    get everything through a caterer, and that she had heard of other representatives
  7    getting televisions for their doctors through a caterer.
  8           133. After Hill’s comments regarding obtaining items for doctors through
  9    caterers during the April conference meeting, Rowan then told the South East
 10    Region team, “I don’t want to know what you do,” but stated that they should do
 11    what they need to, but “it’s not on me.”
 12           134. During the April conference meeting, Rowan instructed his sales
 13    representatives to “think outside of the box,” and provided the example of going
 14    into a restaurant during lunch, asking the staff to ring up a to-go receipt for ten
 15    people, but then asking them to not provide the lunch but rather give the
 16    representative credit for when they returned with the doctor and his or her spouse
 17    later that night for dinner.
 18           135. After providing the example of how to treat doctors to dinner by
 19    appearing to be within kickback standard limits during the April 2013 conference,
 20    Rowan then told the representatives, “This is the shit we’ve done all of our
 21    careers. But be smart about it, don’t be a dipshit. I’m not forcing you to do this,
 22    but just telling you this is what we do.”
 23           136. After explaining how he encouraged doctors to write SUBSYS
 24    prescriptions by offering them filet mignons and dinners during the 2013
 25    conference meeting, Rowan explained “I don’t think I did anything wrong because
 26    I did it with food;” however, when one sales representative in the meeting began
 27    writing notes regarding his methods, Rowan stated, “there is nothing to write
 28     down, just thinking outside of the box.”
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  1          SUBSYS’s Indication and Usage, and INSYS’s Off-Label Marketing
  2             137. INSYS developed methods for persuading doctors to prescribe
  3    SUBSYS for contraindicated and off-label uses, which the FDA states can be
  4    deadly.
  5             138. According to its label, the FDA indicated SUBSYS for the limited use
  6    of management of breakthrough pain in adult cancer patients who are already
  7    receiving and who are tolerant to around-the-clock opioid therapy for their
  8    underlying persistent cancer pain.
  9             139. Patients considered opioid tolerant are those who are taking around-
 10    the-clock medicine consisting of at least 25 mcg of transdermal fentanyl/hour.
 11             140. The FDA contraindicated SUBSYS for use in opioid non-tolerant
 12    patients because life-threatening respiratory depression and death could occur in
 13    patients not on a chronic regimen of opioids. For this reason, SUBSYS is
 14    contraindicated in the management of acute or postoperative pain, including
 15    headaches or migraines.
 16             141. According to the label, the FDA intended that SUBSYS be used only
 17    in the care of cancer patients and only by oncologists and pain specialists who are
 18    knowledgeable of and skilled in the use of Schedule II opioids to treat cancer pain.
 19             142. According to the label, the initial dose of SUBSYS to treat episodes of
 20    breakthrough cancer pain is always 100 mcg.
 21             143. According to the SUBSYS label, due to the potential for fatal
 22    overdose, physicians should not convert patients on a mcg per mcg basis from any
 23    other fentanyl product.
 24             144. According to the SUBSYS label, death has been reported in children
 25    who have accidently ingested transmucosal immediate-release fentanyl products
 26    and therefore SUBSYS must be kept out of the reach of children.
 27
 28
      584458.1                                              -21-
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  1             145. Due to the risk of misuse, abuse, addiction, and overdose, SUBSYS is
  2    only available through a restricted program created by the FDA: the TIRF Risk
  3    Evaluation and Mitigation Strategy (REMS) program.
  4             146. INSYS has systematically violated and continues to violate every one
  5    of these FDA indications and warnings
  6             147. INSYS has created the “effective dosage message,” which continually
  7    encourages sales representatives to push doctors to prescribe doses higher than
  8    100 mcg and to quickly titrate patients to high levels because low SUBSYS
  9    dosages, as Babich states, are known as “the kiss of death.”
 10             148. Relator is informed and believes and based thereon alleges that
 11    Burlakoff personally trained representatives to use the off-label message that if
 12    patients had previously taken another Fentanyl product, the doctors should start
 13    patients on dosage levels higher than those indicated by the FDA because the
 14    FDA-approved starting dose might be insufficient. Burlakoff insisted that
 15    “everyone knows it doesn’t work at that level.”
 16             149. Relator is informed and believes and based thereon alleges that the
 17    field training Burlakoff conducted via “ride alongs” differed markedly from their
 18    formal trainings, as Burlakoff recommended that doctors start patients on doses
 19    400% greater than the FDA-approved starting dose, and that they move patients to
 20    doses 800% and 1600% greater as quickly as possible.
 21             150. Relator is informed and believes and based thereon alleges that
 22    Babich was fully aware of the financial advantage to INSYS of pushing patients to
 23    dangerously high dosage levels. For example, at a May, 2014 conference, he
 24    stated that “as patients stay on the drug longer, they have a tendency to move up
 25    in dose, making prescriptions more valuable as the patient stays on the drug . . .”
 26             151. Relator is informed and believes and based thereon alleges that
 27    Kapoor yelled at sales representatives to get doctors to quickly move patients to
 28
      584458.1                                              -22-
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  1    higher doses, and that he also pressured sales managers to start their patients on
  2    doses higher than the FDA allowed.
  3             152. Relator is informed and believes and based thereon alleges that at the
  4    same April, 2014 sales meeting where Burlakoff told his sales staff to disregard
  5    his previous instructions to push off-label uses and off-label dosage for Subsys, he
  6    also warned the staff that anyone who discussed problems with doctors or patients
  7    in an email would be fired.
  8             153. In or about early 2013, INSYS began to rely on Linden Care
  9    Pharmacy, a mail order pharmacy in New York, for its SUBSYS supply.
 10             154. INSYS management urged -sales representatives and doctors to use
 11    this pharmacy, as illustrated in a text message that Burlakoff sent to Guzman on or
 12    around February 20, 2013, instructing her to, “Just use Linden care, they don’t
 13    bitch.”
 14             155. In March 2013, Guzman became concerned about using this pharmacy
 15    because a pharmacist in her territory, Doctor Brad Williams (“Dr. Williams”)
 16    from Family Care Pharmacy, told her in both a telephone conversation and email
 17    letter that it was dangerous for SUBSYS to be distributed to patients through the
 18    mail as this illustrated that a pharmacist had not properly educated the patient on
 19    storage and disposal of the drug, which could result in children or pets accidently
 20    ingesting and overdosing on this powerful drug.
 21             156. During the March 2013 telephone call with Guzman, Dr. Williams
 22    told her that some of his patients had come into the pharmacy complaining that
 23    they had not even ordered SUBSYS but that it had arrived through the mail at
 24    their homes.
 25             157. During the March 2013 conversation with Guzman, Dr. Williams also
 26    expressed his concern that medication crossing state lines from New York, where
 27    Linden Care is located, to Florida, where his patients lived, violated state laws.
 28
      584458.1                                              -23-
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  1             158. Guzman alerted Burlakoff to Dr. William’s concern with the potential
  2    risk to patient health and safety by utilizing a mail order pharmacy, but INSYS
  3    continues to instruct sales representatives to use Linden Care.
  4             159. During the April 2013 conference in Arizona, Liz Gurrieri
  5    (“Gurrieri”) from the Internal Reimbursement Center (“IRC”) stated that
  6    representatives could pre-populate their opt-in forms with Linden Care for the
  7    pharmacy section of the form.
  8             160. Relator is informed and believes and based thereon alleges that
  9    Babich knew that only about 10% were for patients with a cancer diagnosis. The
 10    majority of prescriptions were for patients with low back pain, sciatica, or
 11    peripheral neuropathy secondary to diabetes. Babich observed this because he
 12    personally saw all of the patients’ diagnoses as they were funneled through the PA
 13    team, which was given each patient’s diagnosis and a list of drugs the patient had
 14    previously taken. It was so unusual for the team to actually see a patient with a
 15    cancer diagnosis that they would get excited. Babich, who remained in close
 16    personal contact with the PA team, was aware of this.
 17             161. Relator is informed and believes and based thereon alleges that
 18    Burlakoff trained the SUBSYS sales force to “agree” with doctors that the drug
 19    was good for any pain spike, whether or not it was for breakthrough cancer pain.
 20             162. Relator is informed and believes and based thereon alleges that
 21    Babich also, at a September, 2012 sales meeting, instructed the sales staff to give
 22    physicians the off-label message that “breakthrough pain is the same as
 23    breakthrough cancer pain”.
 24             163. Relator is informed and believes and based thereon alleges that
 25    Burlakoff would do “ride alongs”, where he accompanied sales representatives on
 26    physician calls so he could teach them his illegal techniques, and that some of
 27    those representatives with pharmaceutical industry experience were alarmed by
 28    what they saw and heard Burlakoff do.
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  1             164. Relator is informed and believes and based thereon alleges that
  2    Burlakoff personally trained representatives to use the off-label message that
  3    “pain is pain.”
  4             165. Relator and other employees observed and remarked that Babich and
  5    Burlakoff were only interested in driving sales and making money by selling
  6    SUBSYS to every kind of patient.
  7             166. Relator is informed and believes and based thereon alleges that only
  8    after law enforcement began scrutinizing INSYS’s sales practices and Dr.
  9    Awerbuch’s SUBSYS prescription-writing spree did Burlakoff, at an April, 2014
 10    training session, tell the sales representatives that they could no longer be doing
 11    what he had trained them to do, thus admitting that they had been trained to
 12    market SUBSYS illegally.
 13                                   The IRC and Prior Authorization
 14             167. INSYS created the IRC in order to help doctors and patients obtain
 15    approval for SUBSYS, including for off-label and contraindicated uses.
 16             168. The IRC and physicians enter into agreements, in which the physician
 17    provides patient information that the IRC then uses to complete prior
 18    authorization forms.
 19             169. INSYS utilizes Specialty Sales Professionals to gather patient
 20    information and assist in receiving prior authorization. This includes instructing
 21    sale representatives to review private patient information within doctors’ offices.
 22             170. The IRC handles appeals when prior authorization requests are
 23    denied.
 24             171. The IRC occasionally issues “super vouchers” to patients while their
 25    prior authorization and appeals are pending, which allows for free SUBSYS until
 26    approval is obtained.
 27
 28
      584458.1                                              -25-
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  1             172. The IRC sometimes uses past and/or later-found instances of patients’
  2    cancer diagnoses to obtain the Centers for Medicare and Medicaid Services
  3    (“CMS”) approval for the treatment of non-cancer pain.
  4             173. On or around April 19, 2013, Gurrieri stated during an INSYS
  5    conference presentation to the South East Region team that the IRC needs to know
  6    if a patient had cancer in 1992 or if they have cancer – even if that is not what the
  7    doctor is treating them for – because that cancer diagnosis is almost an assurance
  8    of approval.
  9             174. Gurrieri stated during the April 2013 presentation that patient face
 10    sheets are important for the representatives to collect from the doctors because it
 11    is through reading those forms that the IRC “finds cancer a lot of the time.”
 12             175. During the conference presentation, Gurrieri stated that INSYS is
 13    “obviously promoting this on-label,” but then went on to instruct the
 14    representatives to ask doctors if the patient has a history of cancer and to ensure
 15    they include all documentation for SUBSYS approval.
 16              Instructing Sales Representatives to Market for Off-Label Uses
 17             176. INSYS engages in the off-label marketing of SUBSYS by
 18    encouraging doctors to write prescriptions for conditions other than breakthrough
 19    cancer pain.
 20             177. INSYS is careful to not include the promotion of off-label marketing
 21    in official training material or emails, and warned employees during the April
 22    2013 conference to keep questionable communications out of text messages.
 23             178. INSYS nevertheless educates its sales representatives on how to
 24    implement off-label marketing strategies during conference calls and in-person
 25    meetings.
 26             179. During the April 2013 conference in Arizona, Regional Sales
 27    Manager Rowan told the South East Region team, “Don’t be afraid of what we are
 28    indicated for.”
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  1             180. During this conference meeting on or around April 18, 2013, Rowan
  2    asked his sales team to state the SUBSYS indication and the team responded it
  3    was for breakthrough cancer pain. Rowan replied it was for breakthrough pain in
  4    cancer patients, and he then stated “let’s change that” and then stressed “pain” in
  5    his second pronouncement of the indication.
  6             181. Specialty Sales Professional Tondre then instructed the other
  7    representatives during the conference meeting on or around April 18, 2013 to ask
  8    their doctors if there was any difference in their patients having cancer or back
  9    pain, and that if the patient ranks high on the pain scale, that “that’s the whole
 10    point, pain is pain.”
 11             182. The “pain is pain” mantra Tondre mentioned during the April
 12    conference meeting was the same that he had used in an early 2013 conference
 13    call where he stated “pain is pain, and SUBSYS treats pain;” this same mantra
 14    helped prompt the DOJ to file a False Claims Act suit against Tondre’s previous
 15    employer, Cephalon, as stated in the DOJ September 29, 2008 press release.
 16             183. Sales Manager Rowan allowed Tondre to share his methods for
 17    encouraging doctors to write off-label or contraindicated prescriptions without
 18    interruption during the April 2013 conference meeting.
 19             184.     Later in the conference meeting on or around April 18, 2013, Rowan
 20    instructed the team to call him if there were any issues that should not be put in
 21    writing, such as associating speaker programs and fees with how many
 22    prescriptions a doctor wrote.
 23             185. During the conference meeting on or around April 18, 2013, Rowan
 24    told his team that SUBSYS was great for sickle cell anemia, which is not a type of
 25    cancer.
 26             186. In its September 29, 2008 press release regarding the FCA lawsuit
 27    against Cephalon, the DOJ stated that promoting fentanyl products for sickle cell
 28    anemia constituted off-label marketing.
      584458.1                                              -27-
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  1             187. During the conference meeting on or around April 18, 2013, former
  2    Cephalon employee Hill instructed other representatives on the methods she used
  3    -on “how to throw something out to a doctor without sounding off-label,” such as
  4    quoting another doctor.
  5             188. After Hill stated that a representative could quote another doctor in
  6    order to offer the off-label promotion of SUBSYS during the April 2013
  7    conference meeting, Rowan interjected and stated that this was not allowed
  8    because a representative cannot use a third party to achieve off-label marketing.
  9             189. After Rowan mentioned that using a third party to achieve off-label
 10    marketing was not allowed during the April conference meeting, Hill then
 11    provided an example of the conversation she would have with the doctor to get
 12    around this requirement: “I was speaking to some of the other reps and their
 13    doctors are writing for this, that, and the other. Do they have cancer? I don’t
 14    know, but they were talking about sickle cell anemia.”
 15             190. After Hill provided an alternative to “not sound off-label” when
 16    encouraging doctors to write SUBSYS for conditions other than breakthrough
 17    cancer pain during the April 2013 conference meeting, Rowan allowed Hill to
 18    instruct the other representatives without interruption and did not indicate this
 19    method was inappropriate; instead, Rowan stated shortly after that a doctor who
 20    writes SUBSYS is not worried about its indication.
 21             191. Following the instruction about how to encourage doctors to write
 22    SUBSYS prescriptions for sickle cell anemia in the conference meeting on or
 23    around April 18, 2013, a member of the South East sales team mentioned that
 24    doctors just want to hear the indication first, and then they are ready to listen to
 25    other uses, followed by Rowan adding that “If you want to talk science, you’re
 26    going to suck.”
 27
 28
      584458.1                                              -28-
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  1               Targeting Doctors who are Not Oncologists or Pain Specialists
  2             192. INSYS has also pursued relationships with doctors who are not
  3    oncologists or pain specialists knowledgeable of and skilled in the use of Schedule
  4    II opioids to treat cancer pain, as approved by the FDA.
  5             193. In its September 29, 2008 press release regarding the FCA suit against
  6    Cephalon, the DOJ stated that Cephalon’s focus on physicians other than
  7    oncologists constituted off-label marketing.
  8             194. On February 21, 2013, IRC Prior Authorization Assistant Tamara
  9    Kalmykova (“Kalmykova”) emailed Guzman about one of Dr. Banchik’s patients,
 10    stating that the approval request was denied partly because Medicaid identified
 11    Dr. Banchik as a neurologist and required proof that Dr. Banchik specialized in
 12    pain management.
 13             195. Dr. Banchik is a neurologist at the Neurology Centers of Palm Beach,
 14    as stated on her patient forms and on her biography on the Neurology Center’s
 15    website.
 16             196. The Neurology Centers of Palm Beach’s website indicates that Dr.
 17    Banchik has experience with and provides lectures on pain management, but that
 18    her primary background is in neurology, which includes the specialty area of
 19    headaches.
 20             197. The Neurology Center of Palm Beach’s website does not list cancer
 21    treatment as a specialty area, although it does list headaches/migraines and various
 22    forms of injuries as areas of focus for the Neurology Center’s physicians.
 23             198. INSYS is targeting doctors who are not oncologists or pain
 24    management physicians specializing in cancer treatment and who likely see far
 25    more neurological patients than cancer patients.
 26             199. The FDA contraindicated SUBSYS for acute pain stemming from
 27    migraines or headaches, due to the serious consequences that could result from
 28
      584458.1                                              -29-
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  1    prescribing SUBSYS to a patient not on a regimen of opioids for breakthrough
  2    cancer pain.
  3             200. Dr. Banchik mentioned to Guzman in August 2012 that doctors who
  4    were unable to prescribe SUBSYS could refer their patients to her to write the
  5    prescription, which indicates that Dr. Banchik was likely unfamiliar with these
  6    referred patients’ particular histories, which in turn increases the chance of
  7    SUBSYS causing serious side effects in these new patients who were referred
  8    simply to obtain a SUBSYS prescription.
  9             201. INSYS’s pursuit of relationships with physicians other than
 10    oncologists and pain specialists is not an uncommon practice for the company.
 11             202. On or around August 16, 2012, National Trainer Hill admitted in a
 12    text message to Guzman that none of the attendees at a speaker program she had
 13    recently conducted were oncologists or pain specialists.
 14             203. Hill serves as the INSYS National Trainer and was a former Cephalon
 15    employee, who should be aware of FDA standards.
 16             204. On or around April 19, 2013 during the Arizona conference, a South
 17    East Region sales representative stated that she had a neurologist that was
 18    prescribing 1600 mcg for a patient.
 19             INSYS’s Off-Label Marketing Results in Doctors Prescribing SUBSYS
 20             for Contraindicated Uses, Off-Label Use, and Over-Titrating.
 21             205. INSYS’s off-label marketing schemes have resulted in doctors writing
 22    prescriptions for contraindicated uses, such as postoperative pain, and for off-label
 23    uses, such as back pain.
 24             206. INSYS has also crafted the “kiss of death” and “effective dosage”
 25    messages, which encourage doctors to start patients at a higher dose than 100 mcg
 26    and/or titrate patients quickly, which is counter to the FDA dosage instructions
 27    and can be very dangerous with such a potent opioid agonist.
 28
      584458.1                                              -30-
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  1                               Prescriptions for Contraindicated Uses
  2             207. SUBSYS is contraindicated for postoperative pain and for
  3    headaches/migraines because life-threatening respiratory depression and death
  4    could occur in patients.
  5             208. INSYS ignores the FDA contraindications warnings and encourages
  6    doctors to recommend SUBSYS for such uses, which has resulted in prescriptions
  7    for contraindicated conditions.
  8             209. On or around February 21, 2013, Kalmykova emailed Guzman about
  9    one of Dr. Banchik’s Medicaid patients, stating that his approval request had been
 10    denied because the office notes focused on the patient’s knee surgery rather than a
 11    cancer diagnosis, under which the request was filed.
 12             210. Dr. Banchik’s Medicaid patient whom Kalmykova emailed Guzman
 13    about on or around February 21, 2013 had previously had cancer but the SUBSYS
 14    prescription was to treat the patient’s post-operation pain following knee surgery.
 15             211. Kalmykova also indicated in her email to Guzman on or around
 16    February 21, 2012 that the IRC needed office notes that supported the correct
 17    diagnosis (cancer), thus impliedly asking Guzman and Dr. Banchik to alter office
 18    notes that had stated the actual purpose for the Medicaid patient’s prescription
 19    (post-operative pain) so the request would fit CMS’s approval requirements.
 20             212. On or around March 18, 2013, Kalmykova followed up with Guzman
 21    about Dr. Banchik’s Medicaid patient, asking Guzman if INSYS now had all the
 22    required documentation from Dr. Banchik, especially because “the patient has
 23    actually tried the medication due to the one time approval that we got from his
 24    work comp back in February.”
 25             213. The February 2012 SUBSYS prior authorization for a Dr. Banchik
 26    Medicaid patient on workers compensation was not for treatment of the patient’s
 27    cancer pain, but rather for his knee injury.
 28
      584458.1                                              -31-
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  1             214. The Relator believes that the initial prescription for Dr. Banchik’s
  2    Medicaid patient in February 2012 was 200 mcg, 30 units.
  3             215. According to an email from Burlakoff on May 13, 2012, 30 units of
  4    SUBSYS at a 200 mcg dose costs about $900 dollars and 120 units at a 400 mcg
  5    dose costs approximately $5,100.
  6                                    Prescriptions for Off-Label Uses
  7             216. The treatment of back pain is one of the primary off-label uses for
  8    which doctors prescribe SUBSYS.
  9             217. On or around April 18, 2013, during the Arizona INSYS conference,
 10    management and sales representatives discussed a method for encouraging doctors
 11    to prescribe SUBSYS for the off-label treatment of back pain: i.e., instruct the
 12    physician to ask the patient if there was anything they could not do during the day
 13    because of their back.
 14             218. During the conference meeting on or around April 18, 2013, Hill and
 15    Tondre stated that representatives could rephrase this by asking if the patient was
 16    restricted from doing anything because of pain or asking about the patient’s
 17    “functionality.”
 18             219. After Tondre provided an alternative method for promoting SUBSYS
 19    for the off-label treatment of back pain, Rowan stated that INSYS was lucky to
 20    have Tondre’s knowledge and then instructed the representatives to paint a picture
 21    and allow the doctor “to go there themselves.”
 22             220. INSYS’s instructions to representatives on how they can sell
 23    SUBSYS for non-FDA approved uses without “sounding off-label” and marketing
 24    SUBSYS by utilizing the mantra “pain is pain” has resulted in a substantial
 25    number of off-label prescriptions, many for Medicare and Medicaid patients.
 26             221. To enroll in the REMS program and be authorized by the FDA to
 27    prescribe SUBSYS, each physician must sign a TIRF form stating that he or she
 28    understands the SUBSYS indication.
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  1           222. On or around March 6, 2013, Dr. Gatz prescribed SUBSYS for a
  2    Medicare patient using diagnosis codes 724.2 (lumbago), 722.52, and 721.3 for
  3    “lumbosacral spondylosis” and “lumbar radiculopathy,” which are, respectively, a
  4    degenerative condition affecting the lower spine and lower-back nerve root pain.
  5           223. On or around March 11, 2013, Dr. Gatz prescribed 600 mcg of
  6    SUBSYS for a Medicare patient with chronic pain; a staff member in Dr. Gatz’s
  7    office confirmed in a March 18, 2013 text message to Guzman that the patient had
  8    chronic pain and not cancer.
  9           224. On or around April 11, 2013, Doctor Daniel Ettedgui (“Dr. Ettedgui”)
 10    prescribed 800 mcg of SUBSYS for a Medicare patient with the diagnosis codes
 11    of “Amputation of Leg Above Knee 897.2; Lumbosacral Plexus Lesions 353.1;
 12    Sciatica Neuralgia 724.3; Lumber Radiculopathy 724.4.”
 13           225. On or around April 12, 2013 INSYS Director of Managed Markets
 14    Mike Grury (“Grury”) sent Burlakoff and Guzman text messages stating that
 15    Jessica Chavez from the IRC contacted Medicare -to get the patient approved for a
 16    voucher, which INSYS can use to sway the patient’s purchasing decision and
 17    potentially dissuade them from opting for less expensive alternatives and generic
 18    medications.
 19           226. On December 18, 2012, in text messages between Jay Patel (“Patel”)
 20    from Apex Pharmacy and Guzman, Patel confirmed that the diagnosis provided by
 21    Dr. Gatz for a SUBSYS prescription was for Patient A’s back pain.
 22           227. On February 11, 2013, a staff member from Dr. Gatz’s office sent
 23    Guzman a text message stating that they had just found out that Patient A had
 24    cancer, verifying that Dr. Gatz had previously prescribed SUBSYS for the off-
 25    label use of treating his back pain.
 26                                Falsification of Documents to CMS
 27           228. The IRC used Dr. Gatz’s new cancer diagnosis for Patient A to
 28     continue obtaining approval for the patient’s SUBSYS prescription to treat his
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  1    back pain, particularly because the IRC stated at the April 2013 conference that
  2    the department reviews patients’ medical information to find cancer to obtain
  3    prior authorization.
  4             229. The Relator is aware of at least one instance in which the IRC used a
  5    previous cancer diagnosis or a cancer diagnosis found after the patient already
  6    received SUBSYS to treat a non-cancer condition in order to gain prior
  7    authorization from CMS for the non-cancer use through falsification of
  8    documents.
  9             230.     In or around late April or early May 2013, the IRC filled out a prior
 10    authorization form for Dr. Gatz and identified the diagnosis as cancer. However,
 11    upon receiving the form, Dr. Gatz’s office whited out the cancer diagnosis and
 12    wrote “chronic pain,” as this was the reason Dr. Gatz had prescribed SUBSYS.
 13             231. In or around late April or early May 2013, after Dr. Gatz modified the
 14    prior authorization to reflect “chronic pain” as the diagnosis, the IRC indicated to
 15    CMS that the form was incorrect and sent a “corrected” – but falsified - form with
 16    the cancer diagnosis to CMS.
 17             232. While Dr. Gatz did not participate in the falsification of the prior
 18    authorization form sent to CMS in or around April or May 2013, he and the IRC
 19    have worked together in other cases to submit false information to CMS.
 20             233. On or around December 18, 2012, Dr. Gatz filled out an IRC prior
 21    authorization form for a patient and identified the diagnosis as “neoplastic pain,”
 22    which matches code 338.3 (Breakthrough Cancer Pain) that the IRC included in
 23    the Medicare form for the same patient on or around December 21, 2012.
 24             234. Dr. Gatz’s January 23, 2013 Patient Face Sheet (which provides
 25    background information on the client) for the patient with the December 2012
 26    neoplastic pain diagnosis, uses diagnosis codes 719.48 (pain in joint) and 337.00
 27    (nerve damage).
 28
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  1             235. The difference in the diagnosis codes used on the forms submitted to
  2    CMS by the IRC and Dr. Gatz with the Patient Face Sheet indicates that Dr. Gatz
  3    was prescribing SUBSYS for nerve and joint pain, but he and the IRC were using
  4    the cancer diagnosis to obtain CMS approval.
  5                         Patients Switched from Actiq to SUBSYS Were
  6                              Largely Medicare and Medicaid Patients
  7             236. One of INSYS’s primary marketing plans is to encourage doctors to
  8    switch patients from Actiq and Fentora to SUBSYS.
  9             237. During a conference call on or around December 12, 2012, Guzman
 10    sent a text message to Hill stating that most patients using Actiq are on Medicare
 11    or Medicaid, in response to management instructing the sales representatives on
 12    the call to switch Actiq patients to SUBSYS while also stating that compliance
 13    issues existed when offering Medicare and Medicaid patients SUBSYS.
 14             238. INSYS has successfully induced doctors to switch patients from Actiq
 15    to SUBSYS, including Dr. Liporace, Dr. Krost, Dr. Banchik, and Dr. Gatz in
 16    Guzman’s territory alone.
 17             239. On or around February 11, 2013, Dr. Gatz prescribed 100 mcg of
 18    SUBSYS for a Medicare patient.
 19             240. On or around March 19, 2013, Dr. Banchik prescribed SUBSYS for a
 20    Medicaid cancer patient.
 21             241. Guzman is informed and based thereon alleges that Medicare and
 22    Medicaid patients account for a substantial amount of SUBSYS purchasers in her
 23    territory and all over the country.
 24             242. INSYS management, such as Burlakoff, are careful to officially state
 25    that vouchers and other incentives cannot be given to Medicare or Medicaid
 26    patients for compliance reasons but management encourages and/or is aware that
 27    vouchers and incentives are provided to persuade Medicare and Medicaid to
 28    purchase SUBSYS.
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  1             243. On December 12, 2012, a concerned Guzman sent Burlakoff a text
  2    message stating that Dr. Banchik had “put a bunch [of] Medicare patients” on free
  3    SUBSYS product, to which Burlakoff responded that he spoke with Babich and
  4    that it was fine.
  5                                    Titration and Over-Prescribing
  6             244. INSYS disregards the FDA’s titration warning and encourages doctors
  7    to prescribe strong doses of SUBSYS.
  8             245. The FDA states on the SUBSYS label that the initial dose to treat
  9    episodes of breakthrough cancer pain is always 100 mcg.
 10             246. The SUBSYS label instructs doctors to prescribe the initial titration
 11    supply of 100 mcg SUBSYS units, which limits the number of units in the home
 12    during titration, and to avoid prescribing a higher dose until patients have used up
 13    all units to prevent confusion and possible overdose.
 14             247. The FDA-approved label states that patients should take a maximum
 15    of two doses of SUBSYS for any breakthrough pain episode.
 16             248. In or around August 2012, INSYS created a new marketing tactic
 17    referred to as the “effective dosage” or “the kiss of death” message.
 18             249. The effective dosage message and the kiss of death consists of telling
 19    doctors that 100 mcg is not effective for pain relief and continually pushing them
 20    to titrate to higher dosages, with the “magic number” referred to in the April 2013
 21    Arizona conference as 800 mcg.
 22             250. As part of the effective dosage message or kiss of death campaign,
 23    INSYS sends a “Daily Rep Report for Low Strength Use” via email every day for
 24    dosages at or below 400 mcg to sales representatives.
 25             251. While INSYS refrains from referencing the terms “kiss of death” or
 26    “the effective dosage message” in official emails and statements, INSYS
 27    management encourages this marketing scheme in person over the telephone and
 28    by text messages.
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  1             252. On or around August 24, 2012, Burlakoff sent a text message to
  2    Guzman and other representatives stating, “We will do the Matt
  3    Napolitano/Marketing/effective dose message.”
  4             253. Napoletano is a former Cephalon marketing executive.
  5             254. On or around September 6, 2012, Burlakoff sent a text message to
  6    Guzman and other sales professionals stating that INSYS would “get together as a
  7    whole company, and review ‘effective dose message;’” indicating that this
  8    message is used throughout INSYS.
  9             255. INSYS’s off-label marketing titration campaign has resulted in
 10    doctors starting patients on SUBSYS dosages that are higher than the FDA-
 11    approved 100 mcg.
 12             256. On or around May 13, 2013, Burlakoff sent an email containing a
 13    chart of twelve new patients for the week of May 11, all of whom were trying
 14    SUBSYS for the first time. Only one individual had 100 mcg listed under the
 15    “strength” column, with the other eleven patients receiving strengths between 200
 16    mcg and 1600 mcg, with the average dosage level at approximately 600 mcg.
 17             257. On or around March 1, 2013, Guzman received a voicemail from
 18    Patel of Apex Pharmacy stating that the 1200 mcg dosage of SUBSYS for a
 19    patient was too high, and that if the prior authorization had not been completed,
 20    that INSYS should hold off and return the patient to 800 mcg.
 21             258. In or around March 2013, Burlakoff sent an email congratulating one
 22    individual who had encouraged a doctor to switch a patient from 1600 mcg of
 23    Actiq to a SUBSYS prescription that would be titrated to 1200 mcg, and then
 24    stated “Cha Ching again!” for the $40,320 that INSYS would make from the sale
 25    to this patient.
 26             259. On or around April 12, 2013, Hill told Guzman -that the 10-pack of
 27    SUBSYS was only to discourage a patient from staying on 100 mcg and was to
 28    force them to go up in strength.
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  1             260. During the conversation on or around April 12, 2013, Hill told
  2    Guzman that Linden Care, upon which INSYS was increasingly relying to supply
  3    SUBSYS, will only dispense a 10-pack of 100 mcg or 200 mcg and up.
  4             261. On or around April 18, 2013, Rowan instructed representatives during
  5    the INSYS conference to “increase the strength as much as possible – that will
  6    give you the most bang for your buck.”
  7             262. On or around April 18, 2013, one sales representative stated during a
  8    conference meeting that a doctor had prescribed a 1200 mcg and a 600 mcg dose
  9    to a patient, with one being covered by insurance and the other being covered out-
 10    of-pocket.
 11             263. On the SUBSYS label, the FDA states that, “To reduce the risk of
 12    overdose during titration, patients should have only one strength of SUBSYS
 13    available at any time.”
 14             264. After the representative mentioned the dual doses for one patient
 15    during the April 2013 conference meeting, Rowan and Gurrieri offered a way
 16    around the FDA and CMS standards by stating that one prescription could be
 17    filled one day and the second could be filled the next.
 18             265. On or around April 18, the sales representative stated during the
 19    conference meeting that the doctor had switched the patient with two prescriptions
 20    doses from another fentanyl product, but prescribed the same amount of mcg for
 21    SUBSYS.
 22             266. The SUBSYS label states that, “When prescribing, do not switch
 23    patients on a mcg per mcg basis from any other oral transmucosal fentanyl
 24    product to SUBSYS;” the FDA warns against this under the “Medication Errors”
 25    portion of the label, stating in bold that this can result in a fatal overdose.
 26
 27
 28
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  1                      COUNT I - FALSE CLAIMS ACT VIOLATIONS
  2                                           31 U.S.C. § 3729(a)(1)
  3             267. Relator repeats and repleads and thereby incorporates each of the
  4    allegations set forth in paragraphs 1 – 266 as though fully set forth herein.
  5             268. Congress established the Medicare program, or Title XVIII of the
  6    Social Security Act, in 1965 with the goal of providing nationalized health
  7    coverage for Americans aged 65 or older. See 42 U.S.C. §§ 1395 et seq. In
  8    addition to the elderly, a large portion of Medicare’s patient population is
  9    disabled. In 2015, Medicare covered roughly 55 million Americans, either
 10    through the traditional federally-administered Medicare program or through
 11    private health plans, also known as Medicare Advantage plans. Medicare is
 12    funded through the Medicare Trust Fund, which relies on workers’ payroll
 13    deductions and government funds.
 14             269. Medicaid was also created in 1965 under Title XIX of the Social
 15    Security Act. It is a public assistance program providing for payment of medical
 16    expenses for low-income and disabled patients. Funding for Medicaid is shared
 17    between the Federal Government and those states participating in the program.
 18    Thus, under Title XIX of the Social Security Act (“Medicaid”), 42 U.S.C. §§ 1396
 19    et seq., federal money is distributed to the states, which in turn provide certain
 20    medical services to the poor.
 21             270. The federal Government administers other health care programs that
 22    include, but are not limited to, TRICARE, CHAMPVA, and the Federal Employee
 23    Health Benefit Program.
 24             271. TRICARE, which the United States Department of Defense
 25    administers, is a health care program for individuals and dependents affiliated
 26    with the armed forces. 10 U.S.C. §§ 1071 et seq.; 32 C.F.R. § 199.4(a).
 27
 28
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  1             272. CHAMPVA, which the United States Department of Veteran Affairs
  2    Administers, is a health care program for families of veterans with 100-percent
  3    service-connected disabilities. 38 U.S.C. §§ 1781 et seq.; 38 C.F.R. § 17.270(a).
  4             273. The Federal Employee Health Benefit Program (“FEHBP”), which the
  5    United States Office of Personnel Management administers, provides health
  6    insurance for federal employees, retirees, and their survivors. 5 U.S.C. §§ 8901 et
  7    seq.; 5 C.F.R. § 890.12.
  8             274. Defendants knowingly caused to be presented to the United States
  9    Government false or fraudulent claims for payment or approval under federally-
 10    funded programs, including but not limited to Medicare, Medicaid, TRICARE,
 11    CHAMPVA, and FEHBP, in violation of 31 U.S.C. § 3729(a)(1), when INSYS
 12    violated 42 U.S.C. § 1320a-7b with its structured kickback system to induce
 13    doctors to recommend SUBSYS, because 42 U.S.C. § 1320a-7b(g) provides that
 14    a claim that includes items or services resulting from a violation of this section
 15    constitutes a false or fraudulent claim for purposes of the federal False Claims
 16    Act.
 17             275. Defendants knowingly offered kickbacks to doctors when its
 18    managers instructed representatives to offer incentives to doctors in exchange for
 19    SUBSYS prescriptions, even though INSYS management knew this violated FCA
 20    laws, including during the April 2013 conference when Rowan told
 21    representatives not to “put in black and white” that speaker programs and fees are
 22    based on the amount of SUBSYS a doctor prescribes.
 23             276. INSYS management and sales representatives shared methods to
 24    maneuver around anti-kickback standards and compliance laws, such as ordering
 25    meals during lunch as to-go orders but instructing the restaurant to credit the
 26    representative when they later brought in just the doctor and his or her spouse, or
 27    by ordering televisions through caterers for speaker programs.
 28
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  1           277. INSYS management was aware of FCA laws and compliance
  2    standards but justified its instructions to sales representatives to violate such laws
  3    and standards, such as when Regional Sales Manager Rowan stated during the
  4    April 2013 conference that he did not believe he was doing anything wrong
  5    because he was inducing doctors with food, and then stated that he was not asking
  6    the sales representatives to do anything wrong, just to be aware of how they can
  7    be a top sales person.
  8           278. Defendants knowingly caused to be presented to the Government false
  9    or fraudulent claims for payment or approval under the federally-funded Medicaid
 10    program when in or around February 21, 2013, they caused to be submitted to
 11    CMS forms indicating that a previous cancer diagnosis was the reason for Dr.
 12    Banchik prescribing SUBSYS for a Medicaid patient when the prescription was
 13    being used to treat postoperative knee pain, a contraindicated use; this practice is
 14    widespread throughout INSYS, particularly because the IRC obtains approval
 15    from Medicaid and Medicare for the entire company.
 16           279. Defendants knowingly caused to be presented to the Government false
 17    or fraudulent claims for payment or approval when in late April or early May
 18    2013, the IRC filled out a prior authorization form and identified the diagnosis as
 19    cancer on the form but Dr. Gatz later whited out the cancer diagnosis and wrote
 20    “chronic pain” (the reason for the SUBSYS prescription); the IRC told CMS that
 21    the form was incorrect with the chronic pain diagnosis and sent a “corrected”
 22    form. This practice is widespread throughout INSYS, particularly because the
 23    IRC obtains approval from Medicaid and Medicare for the entire company.
 24           280. Defendants knowingly caused to be presented to the Government false
 25    or fraudulent claims for payment or approval when in or around December 18,
 26    2012, the IRC, working with Dr. Gatz, submitted to CMS prior authorization and
 27    Medicare forms indicating that the patient’s diagnosis was neoplastic pain when
 28     Dr. Gatz’s Patient Face Sheet noted that the patient had joint and nerve pain, a
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  1    Sheet to which the IRC had access; this practice is widespread throughout INSYS,
  2    particularly because the IRC obtains approval from Medicaid and Medicare for
  3    the entire company.
  4             281. Defendants knowingly caused to be presented to the Government false
  5    or fraudulent claims for payment or approval when they engaged in off-label
  6    marketing, such as failing to meet the off-label dissemination requirements of 21
  7    U.S.C. §360aaa, distributing misbranded drugs in violation of 21 U.S.C. §331(a),
  8    and encouraged doctors to prescribe SUBSYS for uses it knew were not approved
  9    by the FDA and assisted through the IRC in obtaining approval and payment from
 10    Medicaid and Medicare for SUBSYS prescriptions for non-approved uses in
 11    violation of 42 U.S.C §1396r-8(k)(3) and 42 U.S.C. §§ 1395w-102 – §1395w-
 12    104.
 13             282. The United States, unaware of the falsity of the claims and/or
 14    statements made by Defendants and in reliance on the accuracy thereof, paid
 15    Defendants for such false or fraudulent claims.
 16             283. The fact that the United States paid for false and fraudulent claims
 17    subsequent to the filing of this action does not negate the materiality of the
 18    Defendants’ conduct and noncompliance. Even though many if not most
 19    SUBSYS prescriptions are procured through improper financial incentives or off-
 20    label marketing, some prescription were legitimate, and the Government has no
 21    practical means of discerning, on a prepayment basis, which prescriptions were
 22    appropriate and which were not. In addition, certain patients need a drug like
 23    SUBYS and a blanket suspension of payments for SUBSYS would cause them
 24    substantial harm.
 25             284. By reasons of the acts and conduct of Defendants in violation of 31
 26    U.S.C. § 3729(a)(1), the United States has suffered actual damages, including the
 27    total amounts paid in response to all such false or fraudulent claims for payment.
 28
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  1    In addition, the United States is entitled to recover civil money penalties, and
  2    other monetary relief as deemed appropriate.
  3           COUNT II - DEFENDANTS SUBMITTED AND CAUSED TO BE
  4       SUBMITTED FALSE CLAIMS ARISING FROM THEIR OFF-LABEL
  5                                  DISSEMINATION VIOLATIONS
  6
  7             285. Relator repeats and repleads and thereby incorporates each of the

  8    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set

  9    forth herein.

 10             286. A manufacturer may disseminate information concerning the safety,

 11    effectiveness, or benefit of a use not described in the approved labeling only if: (1)

 12    there is an application filed pursuant to 21 U.S.C. § 355; (2) the information meets

 13    the requirements of 21 U.S.C. § 360aaa-1; (3) the information is not derived from

 14    clinical research conducted by another manufacturer or permission has been given

 15    to use such information; (4) the manufacturer has, within 60 days before

 16    dissemination submitted to the Secretary (A) a copy of the information to be

 17    disseminated and (B) any clinical trial information relating to the safety or

 18    effectiveness of the new use; (5) the manufacturer has complied with section

 19    360aaa-3; (6) along with the information on the new use to be disseminated, the

 20    manufacturer includes a statement disclosing (A)(i) that the use in not approved,

 21    (ii) that the information is being disseminated at the manufacturer’s expense, (iii)

 22    the names of the authors who have received compensation from the manufacturer,

 23    (iv) the official labeling for the drug, (v) a statement that there are products or

 24    treatments that have been approved for the use, (vi) identification of any person

 25    that provided funding for the research, and (B) a bibliography of other articles that

 26    have been published about the use of the drug.

 27             287. Defendants did not satisfy these requirements before encouraging

 28    doctors to prescribe SUBSYS for contraindicated and off-label uses, such as for
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  1    postoperative pain and back pain, and before they pursued doctors who were
  2    neither oncologists nor pain management specialists knowledgeable in opioids to
  3    prescribe SUBSYS for patients, including those insured by Medicare and
  4    Medicaid, and therefore violated 21 U.S.C. § 360aaa.
  5             288. Because Defendants did not meet the 21 U.S.C. § 360aaa
  6    dissemination requirements and thus engaged in off-label marketing of SUBSYS,
  7    they violated 31 U.S.C. § 3729(a)(1) by knowingly presenting or causing to be
  8    presented to the United States Government false or fraudulent claims for payment
  9    or approval under the federally-funded Medicaid and Medicare programs.
 10
             COUNT III - DEFENDANTS SUBMITTED AND CAUSED TO BE
 11
        SUBMITTED FALSE CLAIMS TO MEDICAID ARISING FROM THEIR
 12
                                 NON-APPROVED USE VIOLATIONS
 13
 14             289. Relator repeats and repleads and thereby incorporates each of the
 15    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 16    forth herein.
 17             290. Reimbursement by Medicaid is, with only one rare exception (an
 18    anticancer chemotherapeutic regimen), prohibited if the drug is not being used for
 19    a medically accepted indication. 42 U.S.C. §1396r-8(k)(3).
 20             291. 42 U.S.C. §1396r-8 (k)(6) defines a medically accepted indication as
 21    one which is approved under the Food, Drug, and Cosmetic Act.
 22             292. The FDA approved SUBSYS for the limited use of treatment for
 23    breakthrough pain in cancer patients.
 24             293. INSYS management instructed sales representatives on and allowed
 25    former Cephalon employees to share methods for promoting SUBSYS to doctors
 26    for off-label and contraindicated uses without sounding “off-label,” including at
 27    the April 2013 INSYS conference in Arizona and during an early 2013 conference
 28
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  1    call in which former Cephalon employee Dan Tondre explained his sales motto
  2    “pain is pain.”
  3          294. During the April 2013 INSYS conference in Arizona, Defendants
  4    instructed sales representatives on methods for promoting SUBSYS for treating
  5    sickle cell anemia and back pain, neither of which were conditions approved or
  6    indicated by the FDA for SUBSYS use.
  7          295. During the April 2013 INSYS conference in Arizona, Manager Joe
  8    Rowan told sales representatives, “I don’t want to know what you do,” but stated
  9    that they should do what they need to, but “it’s not on me.”
 10          296. Defendants are aware that doctors are prescribing SUBSYS for off-
 11    label and contraindicated uses for Medicaid patients, which is prohibited by 42
 12    U.S.C. §1396r-8(k)(3), encourages doctors to write and continue writing these
 13    prescriptions, and assists them in gaining authorizations for the off-label and
 14    contraindicated prescriptions through the IRC.
 15          297. In February 2013, the IRC worked to obtain CMS approval for a
 16    Medicaid patient of Dr. Banchik’s to treat the pain he experienced following knee
 17    surgery by using the patient’s past history of cancer.
 18          298. The FDA contraindicates SUBSYS for the use in treating
 19    postoperative pain.
 20          299. The FDA states that SUBSYS is to be prescribed by oncologist or
 21    pain specialists familiar with opioids.
 22          300. Defendants pursued relationships with non-oncologists, such as
 23    neurologists, for the purpose of encouraging those doctors to prescribe SUBSYS.
 24          301. Medicaid patients account for a significant portion of SUBSYS users.
 25          302. Defendants violated 42 U.S.C. § 1396r-8(k)(3) when they encouraged
 26    doctors to prescribe SUBSYS for uses they knew were not approved by the FDA
 27    and assisted through the IRC in obtaining approval and payment from Medicaid
 28     for SUBSYS prescriptions for non-approved uses.
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          THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
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  1             303. Because Defendants violated 42 U.S.C. § 1396r-8(k)(3) by
  2    encouraging doctors to prescribed SUBSYS for non-approved uses and assisted
  3    doctors in obtaining approval and payment for non-approved uses, they also
  4    violated 31 U.S.C. § 3729(a)(1) by knowingly presenting or causing to be
  5    presented to the United States Government false or fraudulent claims for payment
  6    or approval under the federally-funded Medicaid program.
  7          COUNT IV - DEFENDANTS SUBMITTED AND CAUSED TO BE
  8     SUBMITTED FALSE CLAIMS TO MEDICARE ARISING FROM THEIR
  9                              NON-APPROVED USE VIOLATIONS
 10
 11             304. Relator repeats and repleads and thereby incorporates each of the

 12    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set

 13    forth herein.

 14             305. Medicare Part D, 42 U.S.C. §§1395w-102 – §1395w-104, states that a

 15    plan sponsor is required to provide coverage of qualified prescription drugs.

 16             306. The definition for a covered Medicare drug is outlined in 1395w-

 17    102(e), which includes the term “medically accepted indication.”

 18             307. 42 U.S.C. §1396r-8 (k)(6) defines a medically accepted indication as

 19    one which is approved under the Food, Drug, and Cosmetic Act.

 20             308. The FDA approved SUBSYS for the limited use of treatment for

 21    breakthrough pain in cancer patients.

 22             309. INSYS management instructed sales representatives on and allowed

 23    former Cephalon employees to share methods for promoting SUBSYS to doctors

 24    for off-label and contraindicated uses without sounding “off-label,” including at

 25    the April 2013 INSYS conference in Arizona and during an early 2013 conference

 26    call in which former Cephalon employee Dan Tondre explained his sales motto

 27    “pain is pain.”

 28
      584458.1                                              -46-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1            310. During the April 2013 INSYS conference in Arizona, Defendants
  2    instructed sales representatives on methods for promoting SUBSYS for treating
  3    sickle cell anemia and back pain, neither of which were conditions approved or
  4    indicated by the FDA for SUBSYS use.
  5            311. During the April 2013 INSYS conference in Arizona, Manager Joe
  6    Rowan told sales representatives, “I don’t want to know what you do,” but stated
  7    that they should do what they need to, but “it’s not on me.”
  8            312. Defendants’ off-label marketing has resulted in doctors prescribing
  9    SUBSYS for off-label uses, such as Dr. Gatz writing SUBSYS prescriptions for
 10    Medicare patients to treat their back and chronic pain and Dr. Ettedgui prescribing
 11    SUBSYS for a Medicare patient to treat his post-amputation and lower-back pain.
 12            313. Defendants are aware that doctors are prescribing SUBSYS for off-
 13    label and contraindicated for Medicare patients, which is prohibited by 42 U.S.C.
 14    §§1395w-102 – §1395w-104, and encourages them to write and continue writing
 15    these prescriptions, and assists them in gaining authorizations for these off-label
 16    and contraindicated prescriptions through the IRC.
 17            314. In or around December 18, 2012, the IRC and Dr. Gatz submitted
 18    forms to Medicare indicating that the patient’s diagnosis was neoplastic pain in
 19    order to gain approval for the SUBSYS prescriptions; however, Dr. Gatz’s Patient
 20    Face Sheet indicated that the patient had joint and nerve pain, which are off-label
 21    uses.
 22            315. The FDA states that SUBSYS is to be prescribed by oncologists or
 23    pain specialists familiar with opioids.
 24            316. Defendants pursued relationships with non-oncologists, such as
 25    neurologists, for the purpose of encouraging those doctors to prescribe SUBSYS.
 26            317. Medicare patients account for a significant portion of SUBSYS users.
 27            318. Defendants violated 42 U.S.C. § 1395w-102 when they encouraged
 28     doctors to prescribe SUBSYS for uses it knew were not approved by the FDA and
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          THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
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  1    assisted through the IRC in obtaining approval and payment from Medicare for
  2    SUBSYS prescriptions for non-approved uses.
  3             319. Because Defendants violated 42 U.S.C. § 1395w-102 by encouraging
  4    doctors to prescribe SUBSYS for non-approved uses and assisted doctors in
  5    obtaining approval and payment for non-approved uses, they also violated 31
  6    U.S.C. § 3729(a)(1) by knowingly presenting or causing to be presented to the
  7    United States Government false or fraudulent claims for payment or approval
  8    under the federally-funded Medicare program.
  9     COUNT V - VIOLATION OF THE CALIFORNIA FALSE CLAIMS ACT
 10                                    (Cal. Gov’t. Code § 12651(a)(1))
 11             320. Relator repeats and repleads and thereby incorporates each of the
 12    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 13    forth herein.
 14             321. The California False Claims Act provides, in pertinent part, that:
 15
                       (a) Any person who commits any of the following acts
 16                    shall be liable to the state or to the political subdivision
                       for three times the amount of damages which the state or
 17                    the political subdivision sustains because of the act of
                       that person. A person who commits any of the following
 18                    acts shall also be liable to the state or to the political
                       subdivision for the costs of a civil action brought to
 19                    recover any of those penalties or damages, and may be
                       liable to the state or political subdivision for a civil
 20                    penalty of up to ten thousand dollars ($10,000) for each
                       false claim:
 21
 22                             (1) Knowingly presents or causes to be presented
                                to an officer or employee of the state or of any
 23                             political subdivision thereof, a false claim for
                                payment or approval.
 24
                                (2) Knowingly makes, uses, or causes to be made
 25                             or used a false record or statement to get a false
                                claim paid or approved by the state or by any
 26                             political subdivision.
 27                             (3) Conspires to defraud the state or any political subdivision
                                by getting a false claim allowed or paid by the state or by
 28                             any political subdivision.
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              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
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  1   ...
                                (7) Knowingly makes, uses, or causes to be made
  2                             or used a false record or statement to conceal,
                                avoid, or decrease an obligation to pay or transmit
  3                             money or property to the state or to any political
                                subdivision.
  4
      Cal. Gov’t. Code § 12651.
  5
  6             322. By virtue of the conduct alleged herein, Defendants, and each of them
  7    knowingly caused to be presented to the State of California false claims for
  8    payment or approval, including, but not limited to, claims paid by Medi-Cal,
  9    CalPERS, the state’s public employee pension fund that provides health plans to
 10    active and retired public employees, and any other state or municipal healthcare
 11    programs in violation of Cal. Gov’t. Code § 12651(a)(1).
 12             323. Additionally, Defendants, and each of them gave or caused to be
 13    given ‘kickbacks’ to physicians and other licensed health care professionals to
 14    induce them to prescribe SUBSYS in violation of state law, including Cal.
 15    Welfare & Inst. Code § 14107.2.
 16             324. California paid the false claims because of the conduct of Defendants,
 17    and each of them. As a result of these payments and the conduct, California has
 18    been damaged in an amount to be determined at trial.
 19             325. For each violation of the California False Claims Act, California is
 20    entitled to recover treble damages from Defendants, and each of them. See Cal.
 21    Gov’t. Code § 12651(a).
 22             326. In addition, for each violation of the California False Claims Act,
 23             327. California is entitled to recover from Defendants, and each of them
 24    costs of this action, as well as a civil penalty of up to $10,000.00 per false claim.
 25    Id.
 26
 27
 28
      584458.1                                              -49-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1    COUNT VI - VIOLATION OF THE CALIFORNIA FALSE CLAIMS ACT
  2                                    (Cal. Gov’t. Code § 12651(a)(2))
  3             328. Relator repeats and repleads and thereby incorporates each of the
  4    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  5    forth herein.
  6             329. By virtue of the conduct alleged herein, Defendants, and each of them
  7    knowingly made or used, or knowingly caused to be made or used, false records
  8    or statements to get false claims paid or approved by California or its political
  9    subdivisions, including, but not limited to, claims paid by Medi-Cal, CalPERS,
 10    and any other state or municipal healthcare programs in violation of Cal. Gov’t.
 11    Code § 12651(a)(2).
 12             330. California paid the false claims because of the conduct of Defendants,
 13    and each of them. As a result of these payments and the illegal conduct California
 14    has been damaged in an amount to be determined at trial.
 15             331. For each violation of the California False Claims Act, California is
 16    entitled to recover treble damages from Defendants, and each of them. See Cal.
 17    Gov’t. Code § 12651(a).
 18             332. In addition, for each violation of the California False Claims Act,
 19             333. California is entitled to recover from Defendants, and each of them
 20    costs of this action, as well as a civil penalty of up to $10,000.00 per false claim.
 21    Id.
 22    COUNT VII - VIOLATION OF THE CALIFORNIA FALSE CLAIMS ACT
                        (Cal. Gov’t. Code § 12651(a)(3))
 23             334. Relator repeats and repleads and thereby incorporates each of the
 24    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 25    forth herein.
 26             335. By virtue of the conduct alleged herein, Defendants, and each of them
 27    conspired to defraud California by getting false claims allowed or paid by
 28
      584458.1                                              -50-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1    California, including, but not limited to, claims paid by Medi-Cal, CalPERS, and
  2    any other state or municipal healthcare programs in violation of Cal. Gov’t. Code
  3    § 12651(a)(3).
  4             336. California paid the false claims because of the conduct of Defendants,
  5    and each of them. As a result of these payments and the conduct of Defendants,
  6    and each of them, California and its political subdivisions have been damaged in
  7    an amount to be determined at trial.
  8             337. For each violation of the California False Claims Act, California is
  9    entitled to recover treble damages from Defendants, and each of them. See Cal.
 10    Gov’t. Code § 12651(a).
 11             338. In addition, for each violation of the California False Claims Act,
 12    California is entitled to recover from Defendants, and each of them costs of this
 13    action, as well as a civil penalty of up to $10,000.00 per false claim. Id.
 14
      COUNT VIII - VIOLATION OF THE CALIFORNIA FALSE CLAIMS ACT
 15                                    (Cal. Gov’t. Code § 12651(a)(7))
 16             339. Relator repeats and repleads and thereby incorporates each of the
 17    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 18    forth herein.
 19             340. By virtue of the conduct alleged herein, Defendants, and each of
 20             341. them knowingly made, used, or caused to be made or used a false
 21    record or statement to conceal, avoid, or decrease an obligation to pay or transmit
 22    money or property to California, including, but not limited to, claims paid by
 23    Medi-Cal, CalPERS, and any other state or municipal healthcare programs in
 24    violation of Cal. Gov’t. Code § 12651(a)(7).
 25             342. California and its political subdivisions paid the false claims because
 26    of the conduct of Defendants, and each of them.
 27
 28
      584458.1                                              -51-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1             343. As a result of these payments, California and its political subdivisions
  2    have been damaged in an amount to be determined at trial.
  3             344. For each violation of the California False Claims Act, California is
  4    entitled to recover treble damages from Defendants, and each of them. See Cal.
  5    Gov’t. Code § 12651(a).
  6             345. In addition, for each violation of the California False Claims Act,
  7    California is entitled to recover from Defendants, and each of them costs of this
  8    action, as well as a civil penalty of up to $10,000.00 per false claim. Id.
  9             346. WHEREFORE, Relator respectfully requests this Court to enter
 10    judgment for California and against Defendants, and each of them on each of
 11    Counts V through VII of this Complaint, and impose damages and penalties in an
 12    amount equal to three times the loss sustained by Medi-Cal, CalPERS, and other
 13    state and municipal healthcare programs plus penalties of $10,000 for each false
 14    claim or statement.
 15
           COUNT IX - DELAWARE FALSE CLAIMS AND REPORTING ACT
 16                                                   ("DFCA")
 17                                            (Del. C. 1201 et seq.)
 18
                347. Relator repeats and repleads and thereby incorporates each of the
 19
       allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 20
       forth herein.
 21
               The DFCA provides, in pertinent part, that:
 22
 23                    (a) Any person who (1) knowingly presents, or causes to
                       be presented, directly or indirectly, to an officer or
 24                    employee of the Government a false or fraudulent claim
                       for payment or approval; (2) knowingly makes, uses, or
 25                    causes to be made or used, a false record or statement to
                       get a false or fraudulent claim paid or approved by the
 26                    Government; (3) conspires to defraud the Government by
                       getting a false or fraudulent claim allowed or paid; . . . or
 27                    (7) knowingly makes, uses, or causes to be made or used,
                       a false record or statement to conceal, avoid, or decrease
 28                    an obligation to pay or transmit money or property to the
      584458.1                                              -52-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1                    Government, shall be liable to the Government for a civil
                       penalty of not less than $5,500 and not more than
  2                    $11,000 for each act constituting a violation of this
                       section, plus 3 times the amount of actual damages which
  3                    the Government sustains because of the act of that
                       person. . . .
  4
  5   Del. C. § 1201-1202

  6
                 348. Defendants, and each of them (1) knowingly caused false claims to be
  7
       presented for payment; (2) knowingly caused false statements or records to be
  8
       used to get false or fraudulent claims paid; (3) conspired to defraud the Delaware
  9
       State Government by getting a false or fraudulent claim paid; and/or (4)
 10
       knowingly caused to be made or used false records or statements to avoid or
 11
       reduce the obligation to repay claims, to or by the State of Delaware or its political
 12
       subdivisions, including, but not limited to, claims paid by the Delaware Group
 13
       Health Insurance Program (“GHIP”), the Delaware Medicaid program, and any
 14
       other state or municipal healthcare programs. GHIP is funded by the State of
 15
       Delaware and the Medicaid program is jointly funded by Delaware and the United
 16
       States. Defendants, and each of them, engaged in conduct which conduct directly
 17
       resulted in significant financial loss to the State of Delaware and the United
 18
       States.
 19
                 349. As a result of these payments, Delaware and its political subdivisions
 20
       have been damaged in an amount to be determined at trial.
 21
                 350. Additionally, Defendants, and each of them gave or caused to be
 22
       given ‘kickbacks’ to physicians and other licensed health professionals to induce
 23
       them to prescribe SUBSYS, in violation of state law, including 31 Del. C. § 1001
 24
       et seq.
 25
                 351. For each violation of the DFCA, Delaware is entitled to recover treble
 26
       damages from Defendants, and each of them and a civil penalty of not less than
 27
       $5,500 and not more than $11,000 for each violation. 6 Del. C. 1201.
 28
      584458.1                                              -53-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1             352. WHEREFORE, Relator respectfully requests this Court to enter
  2    judgment for the State of Delaware and against Defendants, and each of them and
  3    impose damages and penalties as follows: an amount equal to three times the loss
  4    sustained by the GHIP, the Delaware Medicaid program, and any other state or
  5    municipal healthcare programs, plus penalties of $11,000 for each violation.
  6
                COUNT X - DISTRICT of COLUMBIA FALSE CLAIMS ACT
  7
                               (D.C. OFFICIAL CODE §§ 2-308.13 et seq.
  8
                353. Relator repeats and repleads and thereby incorporates each of the
  9
       allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 10
       forth herein.
 11
                354. The DCFCA provides, in pertinent part, that:
 12
                       Any person who commits any of the following acts shall
 13                    be liable to the District for 3 times the amount of
                       damages which the District sustains because of the act of
 14                    that person. A person who commits any o f the following
                       acts shall also be liable for the costs of a civil action
 15                    brought to recover penalties or damages, and may be
                       liable to the District for a civil penalty of not less than
 16                    $5,000, and not more than $10,000 for each false claim
                       for which the person (1) knowingly presents, or causes to
 17                    be presented, to an officer or employee of the District a
                       false claim for payment or approval; (2) knowingly
 18                    makes, uses, or causes to be made or used, a false record
                       or statement to get a false or fraudulent claim paid or
 19                    approved by the District; (3) Conspires to defraud the
                       District by getting a false claim allowed or paid by the
 20                    District; . . . or (7) Knowingly makes or uses, or causes
                       to be made or used, a false record or statement to
 21                    conceal, avoid, or decrease an obligation to pay or
                       transmit money or property to the Government, shall be
 22                    liable to the District.
 23
      D. C. Code § 2.308-14(a).
 24             355. Defendants, and each of them (1) knowingly caused false claims to be
 25    presented for payment; (2) knowingly caused false statements or records to be
 26    used to get false or fraudulent claims paid by the District; (3) conspired to defraud
 27    the District by getting a false or fraudulent claim paid; and/or (4) knowingly
 28
      584458.1                                              -54-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1    caused to be made or used false records or statements to avoid or reduce the
  2    obligation to repay claims, to or by the District of Columbia, including, but not
  3    limited to, the District’s health benefits plans for employees, teachers, and retirees
  4    and the District’s Medicaid Program. Since the District’s health benefits
  5    programs are funded by the District and the Medicaid program is jointly funded
  6    by the District and the United States, Defendants, and each of them, engaged in
  7    conduct which conduct directly resulted in significant financial loss to the District
  8    of Columbia and the United States.
  9             356. Additionally, Defendants, and each of them gave or caused to be
 10    given ‘kickbacks’ to physicians and hospitals to induce the physicians to purchase
 11    and/or prescribe SUBSYS in violation of state law, including D.C. Code § 3-702
 12             357. WHEREFORE, Relator respectfully requests this Court to enter
 13    judgment for the District of Columbia and against Defendants, and each of them
 14    on each of the Counts of this Complaint, and impose damages and penalties in an
 15    amount equal to three times the loss sustained by the District of Columbia, plus
 16    penalties of $10,000 for each false claim or statement.
 17
          COUNT XI - VIOLATION OF THE FLORIDA FALSE CLAIMS ACT
 18                               §§ 68.081-.092, FLORIDA STATUTES
 19
 20             358. Relator repeats and repleads and thereby incorporates each of the

 21    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set

 22    forth herein..

 23                    Fla. Stat. 68.082(2) provides liability for any person who
                       (a) knowingly presents, or causes to be presented, to an
 24                    officer or employee of an agency a false or fraudulent
                       claim for payment or approval; (b) knowingly makes,
 25                    uses, or causes to be made or sued, a false record or
                       statement to get a false or fraudulent claim paid or
 26                    approved by an agency; (c) conspires to submit a false or
                       fraudulent claim to an agency or to deceive an agency for
 27                    the purpose of getting a false or fraudulent claim allowed
                       or paid...is liable to the state for a civil penalty of not less
 28                    than $5,500 and not more than $11,000 and for treble the
      584458.1                                              -55-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
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  1                    amount of damages the agency sustains because of the
                       act or omission of that person.
  2
  3
                359. Defendants, and each of them knowingly made, used, or caused to be
  4
       made or used, false records or statements to conceal, avoid, or decrease an
  5
       obligation to pay or transmit money to the State of Florida, including, but not
  6
       limited to, Florida’s State Group Insurance Program and the Florida Medicaid
  7
       program.
  8
                360. Defendants, and each of them knowingly presented or caused to be
  9
       presented false claims for payment to the State of Florida, including, but not
 10
       limited to, Florida’s State Group Insurance Program and the Florida Medicaid
 11
       program, creating liability for a false claims action pursuant to §68.081, Fla. Stat.,
 12
       et. seq.
 13
                361. As a result of the conduct of Defendants, and each of them, set forth
 14
       in this count, the State of Florida paid the improper claims and has suffered actual
 15
       damages.
 16
                362. Additionally, Defendants, and each of them gave or caused to be
 17
       given ‘kickbacks’ to physicians and other licensed health professionals to induce
 18
       them to prescribe SUBSYS in violation of state law, including Fla. Stat. §§
 19
       409.920.
 20
                363. Pursuant to §§ 68.082(2) and 68.086, Fla. Stat., the Defendants, and
 21
       each of them, are liable for treble the actual damages sustained, not less than
 22
       $5,500 and not more than $11,000 penalty per claim, all other relief set forth in
 23
       said statutes, prejudgment interest, attorneys’ fees and court costs.
 24
                364. WHEREFORE, Relator respectfully requests that judgment be
 25
       entered in favor of the State of Florida against Defendants, and each of them, as
 26
       follows: for treble the amount of the State of Florida’s actual damages plus civil
 27
       penalties of $11,000.00 for each false claim submitted; for reasonable attorney’s
 28
      584458.1                                              -56-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1    fees and costs of this civil action; and for such other and further relief as the Court
  2    deems just and equitable.
  3
  4
  5
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 20
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 24
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 28
      584458.1                                              -57-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1        COUNT XII - VIOLATION OF THE GEORGIA FALSE MEDICAID
  2                                                CLAIMS ACT
  3                                 (GEORGIA CODE 49-4-168 et seq.)
  4
                365. Relator repeats and repleads and thereby incorporates each of the
  5
       allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  6
       forth herein.
  7
                366. Section 49-4-168.1.(a) of the Georgia State False Medicaid Claims
  8
       Act provides in pertinent part as follows:
  9
                       Any person who:
 10
                       (1) Knowingly presents or causes to be presented to the
 11                    Georgia Medicaid program a false or fraudulent claim for
                       payment or approval;
 12
                       (2) Knowingly makes, uses, or causes to be made or
 13                    used, a false record or statement to get a false or
                       fraudulent claim paid or approved by the Georgia
 14                    Medicaid program;
 15                    (3) Conspires to defraud the Georgia Medicaid program
                       by getting a false or fraudulent claim allowed or paid;
 16
                       ...
 17
                       (7) Knowingly makes, uses, or causes to be made or
 18                    used, a false record or statement to conceal, avoid, or
                       decrease an obligation to pay, repay or transmit money or
 19                    property to the State of Georgia,shall be liable to the
                       State of Georgia for a civil penalty of not less than
 20                    $5,500.00 and not more than $11,000.00 for each false or
                       fraudulent claim, plus three times the amount of damages
 21                    which the Georgia Medicaid program sustains because of
                       the act of such person.
 22
      Defendants, and each of them violated the provisions set forth hereinabove.
 23
                367. For each violation of the statute, the Commonwealth of Georgia is
 24
       entitled to recover treble damages from Defendants, and each of them. See §49-4-
 25
       168.1.(a) of the Georgia State False Medicaid Claims Act.
 26
                368. WHEREFORE, the Relator respectfully requests this Court to enter
 27
       judgment for the Commonwealth of Georgia and against Defendants, and each of
 28
      584458.1                                              -58-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1    them for an amount of three times the amount of damages sustained by the
  2    Commonwealth of Georgia and a civil penalty of $10,000 for each act of
  3    submitting false statements by Defendants.
  4
                        COUNT XIII - HAWAII FALSE CLAIMS ACT,
  5
                                    Haw. Rev. Stat. § 661-21, et seq.
  6
  7          369. Relator repeats and repleads and thereby incorporates each of the
  8    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  9    forth herein. This is a claim for treble damages and civil penalties under the
 10    Hawaii False Claims Act. Haw. Rev. Stat. § 661-21, et seq.
 11          370. Defendants, and each of them knowingly presented or caused to be
 12    presented to an officer or employee of the state a false or fraudulent claim for
 13    payment or approval.
 14          371. Defendants, and each of them knowingly made, used, or caused to be
 15    made or used, a false record or statement to get a false or fraudulent claim paid or
 16    approved by the state.
 17          372. Defendants, and each of them conspired to defraud the state by getting
 18    a false or fraudulent claim allowed or paid.
 19          373. Unaware of the falsity or fraudulent nature of the claims caused by
 20    Defendants, and each of them, the State of Hawaii, including, but not limited to,
 21    the Hawai’i Employer-Union Health Benefits Trust Fund (EUTF), which runs the
 22    health and prescription drug plans for state employees and retirees, the Hawaii
 23    Medicaid program, and any other state or municipal healthcare programs, paid for
 24    claims that otherwise would not have been allowed.
 25          374. By reason of these payments, the State of Hawaii has been damaged
 26    in a substantial amount.
 27          375. WHEREFORE, the Relator respectfully requests this Court to enter
 28     judgment for the State of Hawaii and against Defendants, and each of them for an
      584458.1                                 -59-
          THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                              CLAIMS ACTS
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  1    amount of three times the amount of damages sustained by the State of Hawaii
  2    and a civil penalty of $11,000 for each act of submitting false statements.
  3
               COUNT XIV - ILLINOIS WHISTLE BLOWER REWARD AND
  4
                                              PROTECTION ACT
  5
                376. Relator repeats and repleads and thereby incorporates each of the
  6
       allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  7
       forth herein.
  8
                377. Section 3 of the Illinois Whistleblower Reward and Protection Act,
  9
       740 ILCS § 175/3, provides in pertinent part:
 10               (a) Any person who: ... (7) knowingly makes, uses, or
                      causes to be made or used, a false record or statement
 11                   to conceal, avoid or decrease an obligation to pay or
                      transmit money or property to the State;... is liable to
 12                   the State for a civil penalty of not less than $5,500
                      and not more than $11,000, plus 3 times the amount
 13                   of damages which the State sustains because of the act
                      of that person. A person violating this subsection (a)
 14                   shall also be liable to the State for the costs of a civil
                      action brought to recover any such penalty or
 15                   damages
 16                         (b) Knowing and knowingly defined. As used in this
                            Section, the terms "knowing" and "knowingly" mean
 17                         that a person, with respect to information: (1) has
                            actual knowledge of the information; (2) acts in
 18                         deliberate ignorance of the truth or falsity of the
                            information; or (3) acts in reckless disregard of the
 19                         truth or falsity of the information, and no proof of
                            specific intent to defraud is required.
 20
                378. Defendants, and each of them knowingly made, or used or caused to
 21
       be made or used, false records or statements, submitted or caused the submission
 22
       of false claims, and also did these things to conceal, avoid, or decrease an
 23
       obligation to pay or transmit money or property to the State of Illinois or its
 24
       political subdivisions, including but not limited to, the Department of Central
 25
       Management Services, which funds health and pharmacy benefits for teachers and
 26
       state and municipal employees, the Illinois Medicaid Program, and any other state
 27
       or municipal healthcare programs. The public employee health plans are funded
 28
      584458.1                                              -60-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1    by the State of Illinois and the Medicaid program is jointly funded by the United
  2    States and the State of Illinois. By engaging in the conduct outlined above,
  3    Defendants, and each of them caused significant financial loss to the United States
  4    and the State of Illinois.
  5             379. As a result of these payments, Illinois and its political subdivisions
  6    have been damaged in an amount to be determined at trial.
  7             380. Additionally, Defendants, and each of them gave or caused to be
  8    given ‘kickbacks’ to physicians and other health care professionals to induce them
  9    to prescribe SUBSYS in violation of state law, including Ill. Stat., Ch. 305, §
 10    5/8A-3.
 11             381. WHEREFORE, the Relator respectfully requests this Court to enter
 12    judgment for the State of Illinois and against Defendants, and each of them for an
 13    amount of three times the amount of damages sustained by the State of Illinois and
 14    a civil penalty of $11,000 for each act of submitting false statements by
 15    Defendants, and each of them.
 16
          COUNT XV - VIOLATION OF THE INDIANA FALSE CLAIMS ACT
 17                                      (INDIANA CODE 5-11-5.5)
 18             382. Relator repeats and repleads and thereby incorporates each of the
 19    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 20    forth herein.
 21             383. Pursuant to the Indiana False Claims Act (IC 5-11-5.5(b)):
 22
                       (b) A person who knowingly or intentionally:
 23
                                (1) presents a false claim to the state for payment
 24                             or
                                approval;
 25
                                (2) makes or uses a false record or statement to
 26                             obtain payment or approval of a false claim from
                                the state;
 27
               ****
 28
      584458.1                                              -61-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1                             is, except as provided in subsection (c), liable to
                                the state for a civil penalty of at least five thousand
  2                             dollars ($5,000) and for up to three (3) times the
                                amount of damages sustained by the state. In
  3                             addition, a person who violates this section is
                                liable to the state for the costs of a civil action
  4                             brought to recover a penalty or damages.
  5
                384. Defendants, and each of them knowingly presented, or caused to
  6
       presented, false claims and/or false records or statements regarding SUBSYS, to
  7
       get false claims paid.
  8
                385. Additionally, Defendants, and each of them, gave or caused to be
  9
       given ‘kickbacks’ to physicians and other health professionals to induce them to
 10
       prescribe SUBSYS, in violation of state law, including I.C. 12-15-24-2.
 11
                386. Defendants, and each of them knowingly presented or caused to be
 12
       presented false claims for payment to the State of Indiana, including, but not
 13
       limited to, the state-run health and prescription plans for state employees and
 14
       retirees, the Indiana Medicaid Program, and any other state or municipal
 15
       healthcare programs, creating liability for a false claims action pursuant to I.C. 5-
 16
       11-5.5.
 17
                387. As a result of conduct set forth in this count, the State of Indiana paid
 18
       the improper claims and has suffered actual damages.
 19
                388. WHEREFORE, Relator respectfully requests that judgment be
 20
       entered in favor of the State of Indiana against Defendants, and each of them, as
 21
       follows: for a civil penalty of at least five thousand dollars ($5,000) and for up to
 22
       three (3) times the amount of damages sustained by the state, and for the costs of
 23
       this civil action.
 24
 25
 26
 27
 28
      584458.1                                              -62-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1             COUNT XVI - VIOLATION OF THE LOUISIANA MEDICAL
  2                        ASSISTANCE PROGRAMS INTEGRITY LAW
  3                           ( LA. REV. STATE. ANN § 46:439.1 et seq.)
  4
                389. Relator repeats and repleads and thereby incorporates each of the
  5
       allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  6
       forth herein.
  7
                390. Pursuant to §437.2 of the Louisiana Medical Assistance Programs
  8
       Integrity Law:
  9
 10                    “This Part is enacted to combat and prevent fraud and
                       abuse committed by some health care providers
 11                    participating in the medical assistance programs and by
                       other persons and to negate the adverse effects such
 12                    activities have on fiscal and programmatic integrity.”

 13
                391. Section 438.3 of the Louisiana Medical Assistance Programs Integrity
 14
       Law provides in pertinent part:
 15
                       A. No person shall knowingly present or cause to be
 16                    presented a false or fraudulent claim.
 17                    B.      No person shall knowingly engage in
                       misrepresentation to obtain, or attempt to obtain,
 18                    payment from medical assistance programs funds.
 19                    C. No person shall conspire to defraud, or attempt to
                       defraud, the medical assistance programs through
 20                    misrepresentation or by obtaining, or attempting to
                       obtain, payment for a false or fraudulent claim.
 21
                 ****
 22   This Law defines a “false or fraudulent claim” to be:
 23                    “... a claim which the health care provider or his billing
                       agent submits knowing the claim to be false, fictitious,
 24                    untrue, or misleading in regard to any material
                       information. "False or fraudulent claim" shall include a
 25                    claim which is part of a pattern of incorrect submissions
                       in regard to material information or which is otherwise
 26                    part of a pattern in violation of applicable federal or state
                       law or rule. (Section 437.3(8))
 27
 28
      584458.1                                              -63-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
                                                                              Case No.: CV 13-5861 JLS (AJS)
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  1             392. Defendants, and each of them knowingly presented, or caused to
  2    presented, false claims for payment and/or false records or statements regarding
  3    SUBSYS in order to get claims paid or in order to conceal, avoid, or decrease an
  4    obligation to pay or transmit money to the State of Louisiana, including, but not
  5    limited to, the Louisiana Medicaid program, and any other state or municipal
  6    healthcare programs.
  7             393. Additionally, Defendants, and each of them gave or caused to be
  8    given ‘kickbacks’ to physicians and other health professionals to induce them to
  9    prescribe SUBSYS, in violation of state law, including La. Rev. Stat. § 14:70.5.
 10             394. Defendants, and each of them knowingly presented or caused to be
 11    presented false claims for payment to the Louisiana Medicaid Program creating
 12    liability for a false claims action pursuant to the Louisiana Medical Assistance
 13    Programs Integrity Law.
 14             395. As a result of the conduct of Defendants, and each of them, as set
 15    forth in this count, the State of Louisiana paid the improper Medicaid claims and
 16    has suffered actual damages.
 17             396. Pursuant to Section 438.6 of the Louisiana Medical Assistance
 18    Programs Integrity Law:
 19                    (1) Actual damages incurred as a result of a violation of
                       the provisions of this Part shall be recovered only once
 20                    by the medical assistance programs and shall not be
                       waived by the court.
 21
                       (2) Except as provided by Paragraph (3) of this
 22                    Subsection, actual damages shall equal the difference
                       between what the medical assistance programs paid, or
 23                    would have paid, and the amount that should have been
                       paid had not a violation of this Part occurred plus interest
 24                    at the maximum rate of legal interest provided by Civil
                       Code Article 2924 from the date the damage occurred to
 25                    the date of repayment.
 26                    (3) If the violator is a managed care health care provider
                       or a health care provider under a voucher program, actual
 27                    damages shall be determined in accordance with the
                       violator's provider agreement.
 28
      584458.1                                              -64-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1                    B. Civil fine.
  2                    (1) Any person who is found to have violated R.S.
                       46:438.2 shall be subject to a civil fine in an amount not
  3                    to exceed ten thousand dollars per violation, or an
                       amount equal to three times the value of the illegal
  4                    remuneration, whichever is greater.
  5                    (2) Except as limited by this Section, any person who is
                       found to have violated R.S. 46:438.3 shall be subject to a
  6                    civil fine in an amount not to exceed three times the
                       amount of actual damages sustained by the medical
  7                    assistance programs as a result of the violation.
  8                    C. Civil monetary penalty.
  9                    (1) In addition to the actual damages provided in
                       Subsection A of this Section and the civil fine imposed
 10                    pursuant to Subsection B of this Section, one or more of
                       the following civil monetary penalties may be imposed
 11                    on the violator:
 12                    (a) Up to ten thousand dollars for each false or fraudulent
                       claim, misrepresentation, illegal remuneration, or other
 13                    prohibited act as contained in R.S. 46:438.2, R.S.
                       46:438.3, or R.S. 46:438.4.
 14
                       (b) Payment of interest on the amount of the civil fine
 15                    imposed pursuant to Subsection B of this Section at the
                       maximum rate of legal interest provided by Civil Code
 16                    Article 2924 from the date the damage occurred to the
                       date of repayment.
 17
                       (2) Prior to the imposition of a civil monetary penalty,
 18                    the court shall consider if there are extenuating
                       circumstances as provided in R.S. 46:438.7.
 19
                       D. Costs, expenses, fees, and attorney fees.
 20
                       (1) Any person who is found to have violated this
 21                    Subpart shall be liable for all costs, expenses, and fees
                       related to investigations and proceedings associated with
 22                    the violation, including attorney fees.
 23                    (2) All awards of costs, expenses, fees, and attorney fees
                       are subject to review by the court using a reasonable,
 24                    necessary, and proper standard of review.
 25                    ...
 26                    E.
 27                    (1) If recovery is due from a health care provider under
                       the provisions of Subsections A and B of this Section,
 28                    such recovery shall constitute civil liquidated damages
      584458.1                                    -65-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1                    for breach of the conditions and requirements of
                       participation in the medical assistance programs which
  2                    are and shall be    construed by the courts to be
                       remedial, but      not retroactive, in nature.
  3
  4
                       (2) Any award of civil liquidated damages, costs,
  5                    expenses, and attorneys' fees shall be in addition to
                       criminal penalties and to the civil monetary penalty
  6                    provided in Subsection C of this Section.
  7
  8             397. WHEREFORE, Relator respectfully requests that judgment be
  9    entered in favor of the State of Louisiana and against Defendants, and each of
 10    them, as follows: actual damages plus interest at the maximum rate of legal
 11    interest provided by Civil Code Article 2924 from the date the damage occurred to
 12    the date of repayment; a civil fine in an amount not to exceed ten thousand dollars
 13    per violation, or an amount equal to three times the value of the illegal
 14    remuneration, whichever is greater; and/or for violation of R.S. 46:438.3 a civil
 15    fine in an amount not to exceed three times the amount of actual damages
 16    sustained by the medical assistance programs as a result of the violation; and civil
 17    money penalties up to ten thousand dollars for each false or fraudulent claim,
 18    misrepresentation, illegal remuneration, or other prohibited act as contained in
 19    R.S. 46:438.2, R.S. 46:438.3, or R.S. 46:438.4, and payment of interest on the
 20    amount of the civil fine imposed pursuant to Subsection B of the above-referenced
 21    Louisiana law at the maximum rate of legal interest provided by Civil Code
 22    Article 2924 from the date the damage occurred to the date of repayment; plus all
 23    costs, expenses, and fees related to investigations and proceedings associated with
 24    the violation, including attorney fees; and such other and further relief as this
 25    Honorable Court deems fit and proper.
 26
 27
 28
      584458.1                                              -66-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1      COUNT XVII - FOR VIOLATION OF THE MASSACHUSETTS FALSE
  2                                                CLAIMS ACT
  3                                        (M.G.L. c. 12 § 5A, et seq.)
  4             398. Relator repeats and repleads and thereby incorporates each of the
  5    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  6    forth herein.
  7             399. Defendants, and each of them knowingly made, or used or caused to
  8    be made or used, false claims for payment and/or false records or statements
  9    regarding SUBSYS in order to get false claims paid and/or to decrease an
 10    obligation to pay or transmit money or property to the State of Massachusetts or
 11    its political subdivisions, including, but not limited to, the Massachusetts Group
 12    Insurance Commission (“GIC”), which provides health insurance to state and
 13    municipal employees and retirees, the Massachusetts Medicaid Program, and any
 14    other state or municipal healthcare programs. The GIC is funded by the
 15    Commonwealth of Massachusetts and the Massachusetts Medicaid program is
 16    jointly funded by Massachusetts and the United States. By engaging in the
 17    conduct outlined above, Defendants, and each of them caused significant financial
 18    loss to the United States and the Commonwealth of Massachusetts.
 19             400. As a result of these payments, Massachusetts and its political
 20    subdivisions have been damaged in an amount to be determined at trial.
 21             401. Additionally, Defendants, and each of them gave or caused to be
 22    given ‘kickbacks’ to physicians and other licensed health professionals to induce
 23    them to prescribe SUBSYS in violation of state law, including Mass. Gen. Law
 24    118E § 41.
 25             402. WHEREFORE, the Relator respectfully requests this Court to enter
 26    judgment for the Commonwealth of Massachusetts and against Defendants, and
 27    each of them for an amount of three times the amount of damages sustained by the
 28
      584458.1                                              -67-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1    Commonwealth of Massachusetts and a civil penalty of $10,000 for each act of
  2    submitting false statements by Defendants, and each of them.
  3     COUNT XVIII - VIOLATION OF THE MICHIGAN MEDICAID FALSE
  4                                                CLAIMS ACT
  5             403. Relator repeats and repleads and thereby incorporates each of the
  6    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  7    forth herein.
  8             404. Section 400.603 of the State of Michigan’s Medicaid False Claims
  9    Act provides in part:
 10
                       (1) A person shall not knowingly make or cause to be
 11                    made a false statement or false representation of a
                       material fact in an application for medicaid benefits.
 12
                       (2) A person shall not knowingly make or cause to be
 13                    made a false statement or false representation of a
                       material fact for use in determining rights to a medicaid
 14                    benefit.
 15                    (3) A person, who having knowledge of the occurrence
                       of an event affecting his initial or continued right to
 16                    receive a medicaid benefit or the initial or continued right
                       of any
 17
                       other person on whose behalf he has applied for or is
 18                    receiving a benefit, shall not conceal or fail to disclose
                       that event with intent to obtain a benefit to which the
 19                    person or any other person is not entitled or in an amount
                       greater than that to which the person or any other person
 20                    is entitled.
 21              ***
      M.C.L. §400.602(f) provides:
 22
 23             405. Defendants, and each of them knowingly presented, or caused to
 24    presented, false claims for payment and/or false records or statements regarding
 25    SUBSYS in order to get false claims paid and/or in order to conceal, avoid, or
 26    decrease an obligation to pay or transmit money to the State of Michigan
 27    Medicaid Program.
 28
      584458.1                                              -68-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1             406. Additionally, Defendants, and each of them gave or caused to be
  2    given ‘kickbacks’ to physicians and other health care professionals to induce them
  3    to prescribe SUBSYS, in violation of state law, including M.C.L. § 400.604.
  4             407. Defendants, and each of them knowingly presented or caused to be
  5    presented false claims for payment to the Michigan Medicaid Program creating
  6    liability for a false claims action pursuant to Michigan’s Medicaid False Claims
  7    Act.
  8             408. As a result of the conduct set forth in this count, the State of Michigan
  9    paid the improper Medicaid claims and has suffered actual damages.
 10             409. Pursuant to M.C.L. §400.612(1):
 11                    A person who receives a benefit which the person is not
                       entitled to receive by reason of fraud or making a
 12                    fraudulent statement or knowingly concealing a material
                       fact shall forfeit and pay to the state a civil penalty equal
 13                    to the full amount received plus triple the amount of
                       damages suffered by the state as a result of the conduct
 14                    by the person.
 15             410. M.C.L. §400.610a also provides for an award against Defendants for
 16    reasonable attorneys’ fees, costs and expenses.
 17             411. WHEREFORE, Relator respectfully requests that judgment be
 18    entered in favor of the State of Michigan and against Defendants as follows: a
 19    civil penalty equal to the full amount received plus triple the amount of damages
 20    suffered by the state, plus attorneys’ fees, costs and expenses, and any other and
 21    further relief that this Honorable Court deems fit and proper.
 22
       COUNT XIX -VIOLATION OF THE MINNESOTA FALSE CLAIMS ACT
 23
                                           Minn. Stats. 15C.01 – .13
 24
 25             412. Relator repeats and repleads and thereby incorporates each of the
 26    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 27    forth herein.
 28
      584458.1                                              -69-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1             413. Section 15C.02 of the Minnesota False Claims Act provides in part:
  2                    (a) A person who commits any act described in clauses
                       (1) to (7) is liable to the state . . . for a civil penalty of not
  3                    less than $5,500 and not more than $11,000 per false or
                       fraudulent claim, plus three times the amount of damages
  4                    that the state . . . sustains because of the act of that
                       person,,,
  5
                       (1) knowingly presents or causes to be presented, a false
  6                    or fraudulent claim for payment or approval;
  7                    (2) knowingly makes or uses, or causes to be made or
                       used, a false record or statement material to a false or
  8                    fraudulent claim;
  9                    (3) knowingly conspires to commit a violation of clause
                       (1), (2), (4), (5), (6), or (7);
 10
                       ...
 11
                       (7) knowingly makes or uses, or causes to be made or
 12                    used, a false record or statement material to an obligation
                       to pay or transmit money or property to the state . . . or
 13                    knowingly conceals or knowingly and improperly avoids
                       or decreases an obligation to pay money or transmit
 14                    property to the state . . .”
 15
                414. Defendants, and each of them knowingly presented, or caused to
 16
       presented, false or fraudulent claims for payment or approval; knowingly made or
 17
       used or caused the submission or use of false records or statements regarding
 18
       SUBSYS material to these claims; and/or made or used or caused to be made or
 19
       used false records or statements in order to conceal, avoid, or decrease an
 20
       obligation to pay or transmit money to the State of Minnesota or its political
 21
       subdivisions, including, but not limited to the Minnesota State Employee Group
 22
       Insurance Program (“SEGIP”), the Minnesota Medicaid Program, and any other
 23
       state or municipal healthcare programs. Defendants, and each of them, conspired
 24
       among themselves and with others to do these things.
 25
                415. Additionally, Defendants, and each of them gave or caused to be
 26
       given ‘kickbacks’ to physicians and other health care professionals to induce them
 27
 28
      584458.1                                              -70-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1    to prescribe SUBSYS, in violation of state law, including Minn. Stat. 69J.23 et.
  2    seq.
  3             416. Defendants, and each of them knowingly presented or caused to be
  4    presented false claims for payment to the State of Minnesota or its political
  5    subdivisions, including, but not limited to the Minnesota State Employee Group
  6    Insurance Program (“SEGIP”), the Minnesota Medicaid Program, and any other
  7    state or municipal healthcare programs, creating liability for a false claims action
  8    pursuant to Minnesota’s False Claims Act.
  9             417. As a result of the conduct set forth in this count, the State of
 10    Minnesota and its political subdivisions paid the improper claims and otherwise
 11    suffered actual damages.
 12             418. §15C.12 also provides for an award against Defendants for reasonable
 13    attorneys’ fees, costs and expenses.
 14             419. WHEREFORE, Relator respectfully requests that judgment be
 15    entered in favor of the State of Minnesota and against Defendants and each of
 16    them as follows: a civil penalty equal to the full amount received plus triple the
 17    amount of damages suffered by the state, plus attorneys’ fees, costs and expenses,
 18    and any other and further relief that this Honorable Court deems fit and proper.
 19
         COUNT XX - VIOLATION OF THE MONTANA FALSE CLAIMS ACT
 20
                                (MONT. CODE, CH. 465, HB 146 (2005))
 21
 22             420. Relator repeats and repleads and thereby incorporates each of the
 23    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 24    forth herein.
 25             421. Section 3 of the Montana False Claims Act (Mont. Code, CH. 465,
 26    HB 146 (2005)) provides in pertinent part as follows:
 27                    Section 3. False claims -- procedures -- penalties. (1) A
                       person causing damages in excess of $500 to a
 28
      584458.1                                              -71-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1                    governmental entity is liable, as provided in [sections 10
                       and 11], for any of the following acts:
  2
                       (a) knowingly resenting or causing to be presented to an
  3                    officer or employee of the governmental entity a false
                       claim for payment or approval;
  4
                       (b) knowingly making, using, or causing to be made or
  5                    used a false record or statement to get a false claim paid
                       or approved by the governmental entity;
  6
                       (c) conspiring to defraud the governmental entity by
  7                    getting a false claim allowed or paid by the governmental
                       entity;
  8
                       ****
  9
                       (g) knowingly making, using, or causing to be made or
 10                    used a false record or statement to conceal, avoid, or
                       decrease an obligation to pay or transmit money or
 11                    property to the governmental entity or its contractors; or
 12                    (h) as a beneficiary of an inadvertent submission of a
                       false claim to the governmental entity, subsequently
 13                    discovering the falsity of the claim and failing to disclose
                       the false claim to the governmental entity within a
 14                    reasonable time after discovery of the false claim.
 15
                422. Defendants, and each of them, knowingly presented, or caused to
 16
       presented, false claims for payment and/or false records or statements regarding
 17
       SUBSYS in order to get false claims paid, and/or to conceal, avoid, or decrease an
 18
       obligation to pay or transmit money to the State of Montana or its political
 19
       subdivisions, including, but not limited to, the Health Care & Benefits Division
 20
       (“HCBD”), which manages the State of Montana Benefit Plan, the Montana
 21
       Medicaid Program, and any other state or municipal healthcare programs.
 22
                423. Additionally, Defendants, and each of them gave or caused to be
 23
       given ‘kickbacks’ to physicians and other health professionals to induce them to
 24
       prescribe SUBSYS, in violation of state law, including Mon. 45-6-313.
 25
                424. As a result of the conduct set forth in this count, the State of Montana
 26
       and its political subdivisions paid the improper claims and suffered actual
 27
       damages.
 28
      584458.1                                              -72-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1             425. Section 3 of the Montana False Claims Act provides in pertinent part:
  2                    (2) In a civil action brought under [section 5 or 6], a court
                       shall assess not less than two times and not more than
  3                    three times the amount of damages that a governmental
                       entity sustains because of the person's act, along with
  4                    costs and attorney fees, and may impose a civil penalty of
                       up to $10,000 for each act.
  5
  6             426. Section 11 of the Montana False Claims Act also provides for an
  7    award of attorney’s fees and costs against Defendants.
  8             427. WHEREFORE, Relator respectfully requests that judgment be
  9    entered in favor of the State of Montana and against Defendants and each of them
 10    as follows: three times the amount of damages that a governmental entity sustains
 11    because of the Defendants’ acts, along with costs and attorney fees, and a civil
 12    penalty of up to $10,000 for each act, and any other and further relief that this
 13    Honorable Court deems fit and proper.
 14
          COUNT XXI - VIOLATION OF THE NEVADA FALSE CLAIMS ACT
 15
                                              (NRS 357.010 et seq.)
 16
                428. Relator repeats and repleads and thereby incorporates each of the
 17
       allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 18
       forth herein.
 19
                429. Defendants, and each of them knowingly submitted or caused the
 20
       submission of false claims for payment and/or made, or used or caused to be made
 21
       or used, false records or statements regarding SUBSYS in order to get false claims
 22
       paid and/or to conceal, avoid, or decrease an obligation to pay or transmit money
 23
       to the State of Nevada or its political subdivisions, including, but not limited to,
 24
       the state-managed health plans for employees and retirees, the Nevada Medicaid
 25
       Program, and any other state or municipal healthcare programs.
 26
 27
 28
      584458.1                                              -73-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
                                                                              Case No.: CV 13-5861 JLS (AJS)
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  1             430. As a result of the conduct set forth in this count, the State of Montana
  2    and its political subdivisions paid the improper claims and suffered actual
  3    damages.
  4             431. Additionally, Defendants, and each of them gave or caused to be
  5    given ‘kickbacks’ to physicians and other health professionals to induce them to
  6    prescribe SUBSYS, in violation of state law, including Nev. Rev. Stats. §
  7    422.560.
  8             432. WHEREFORE, Relator respectfully requests this Court to enter
  9    judgment for the State of Nevada and against Defendants and each of them, and to
 10    award damages to the State of Nevada as authorized by the provisions of NRS
 11    357.040.
 12          COUNT XXII - CLAIMS OF THE STATE OF NEW HAMPSHIRE
 13           VIOLATION OF THE NEW HAMPSHIRE FALSE CLAIMS ACT
 14                              (NEW HAMPSHIRE CODE §167:61-b)
 15             433. Relator repeats and repleads and thereby incorporates each of the
 16    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 17    forth herein.
 18             434. The New Hampshire False Claims Act (167:61-b) provides in
 19    pertinent part:
 20                    I. Any person shall be liable to the state for a civil
 21                    penalty of not less than $5,000 and not more than
                       $10,000, plus 3 times the amount of damages that the
 22                    state sustains because of the act of that person, who:

 23                    (a) Knowingly presents, or causes to be presented, to an
                       officer or employee of the department, a false or
 24                    fraudulent claim for payment or approval.

 25                    (b) Knowingly makes, uses, or causes to be made or
                       used, a false record or statement to get a false or
 26                    fraudulent claim paid or approved by the department.

 27                    (c) Conspires to defraud the department by getting a false
                       or fraudulent claim allowed or paid.
 28
      584458.1                                              -74-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1                    ...
  2                    (f) Is a beneficiary of an inadvertent submission of a false
                       claim to the department, who subsequently discovers the
  3                    falsity of the claim, and fails to disclose the false claim to
                       the department within a reasonable time after discovery
  4                    of the false claim.
  5
                435. Defendants, and each of them knowingly presented, or caused to be
  6
       presented, false claims for payment and/or false records or statements regarding
  7
       SUBSYS in order to get false claims paid and/or to conceal, avoid, or decrease an
  8
       obligation to pay or transmit money to the State of New Hampshire, including, but
  9
       not limited to, the State Department of Administrative Services (“DAS”), which
 10
       administers health benefits to its state employees and retirees, and the New
 11
       Hampshire Medicaid Program.
 12
                436. Additionally, Defendants, and each of them gave or caused to be
 13
       given ‘kickbacks’ to physicians and other health care professionals to induce them
 14
       to prescribe SUBSYS, in violation of state law, including N.H. Rev. Stat. §§
 15
       167:61-a, I(I) & (j).
 16
                437. As a result of the conduct set forth in this count, the State of New
 17
       Hampshire paid the improper claims and has suffered actual damages in excess of
 18
       $5,000.00.
 19
                438. Section 167:61-e of the New Hampshire False Claims Act also
 20
       provides for an award of attorneys fees and costs against Defendants.
 21
                439. WHEREFORE, Relator respectfully requests that judgment be
 22
       entered in favor of the State of New Hampshire and against Defendants, and each
 23
       of them, as follows: a civil penalty of $10,000, plus 3 times the amount of
 24
       damages that the state of New Hampshire has sustained because of the acts of
 25
       Defendants, plus attorneys’ fees and costs, and any other and further relief that
 26
       this Honorable Court deems fit and proper.
 27
 28
      584458.1                                              -75-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1                  COUNT XXIII - VIOLATION OF THE NEW JERSEY
  2                                          FALSE CLAIMS ACT
  3                                               (2A:32C et. seq.)
  4             440. Relator repeats and repleads and thereby incorporates each of the
  5    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  6    forth herein.
  7             441. §2A:32C-3 of the New Jersey False Claims Act provides in pertinent
  8    part:
  9
                       Any person who commits any of the following acts shall
 10                    be jointly and severally liable to the State for a civil
                       penalty of not less than and not more than the civil
 11                    penalty allowed under the federal False Claims Act (31
                       U.S.C. s.3729 et 37 seq.), as may be adjusted in
 12                    accordance with the inflation adjustment procedures
                       prescribed in the Federal Civil Penalties Inflation
 13                    Adjustment Act of 1990, Pub.L.101-410, for each false
                       claim, plus three times the amount of damages which the
 14                    State sustains because of the act of that person:

 15
 16                            a. Knowingly presents or causes to be
                               presented to an employee, officer or agent of
 17                            the State, or to any contractor, grantee, or
                               other recipient of State funds, a false claim
 18                            for payment or approval;

 19                            b. Knowingly makes, 1 uses, or causes to be
                               made or used a false record or statement to
 20                            get a false claim paid or approved by the
                               State;
 21
                               c. Conspires to defraud the State by getting a
 22                            false claim allowed or paid by the State;

 23                            ...

 24                            g. Knowingly makes, uses, or causes to be
                               made or used a false record or statement to
 25                            conceal, avoid, or decrease an obligation to
                               pay or transmit money or property to the
 26                            State.

 27
 28
      584458.1                                              -76-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
                                                                              Case No.: CV 13-5861 JLS (AJS)
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  1             442. Defendants, and each of them knowingly presented, or caused to
  2    presented, false or fraudulent claims for payment and/or false records or
  3    statements regarding SUBSYS in order to get false or fraudulent claims paid;
  4    and/or to conceal, avoid, or decrease an obligation to pay or transmit money to the
  5    State of New Jersey Medicaid Program.
  6             443. Additionally, Defendants, and each of them gave or caused to be
  7    given ‘kickbacks’ to physicians and other health professionals to induce them to
  8    prescribe SUBSYS, in violation of state law, including N.J. Stat. §§ 30:4D-17(c).
  9             444. Defendants, and each of them knowingly presented or caused to be
 10    presented false claims for payment to the New Jersey Medicaid Program creating
 11    liability for a false claims action pursuant to New Jersey’s False Claims Act.
 12             445. As a result of the conduct set forth in this count, the State of New
 13    Jersey paid the improper Medicaid claims and has suffered actual damages.
 14             446. Pursuant to Section 8 of the New Jersey False Claims Act, the court
 15    may also award reasonable attorneys’ fees, costs and expenses against the
 16    Defendants.
 17             447. WHEREFORE, Relator respectfully requests that judgment be
 18    entered in favor of the State of New Jersey and against Defendants, and each of
 19    them, as follows: a civil penalty of not less than and not more than the civil
 20    penalty allowed under the federal False Claims Act (31 U.S.C. s.3729 et 37 seq.),
 21    as may be adjusted in accordance with the inflation adjustment procedures
 22    prescribed in the Federal Civil Penalties Inflation Adjustment Act of 1990,
 23    Pub.L.101-410, for each false claim, plus three times the amount of damages, plus
 24    attorneys fees, costs and expenses, and any and all other relief that this court
 25    deems fit and proper.
 26
 27
 28
      584458.1                                              -77-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
                                                                              Case No.: CV 13-5861 JLS (AJS)
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  1       COUNT XXIV - VIOLATION OF THE NEW MEXICO MEDICAID
  2                FALSE CLAIMS ACT and the NEW MEXICO FRAUD
  3                                  AGAINST TAXPAYERS ACT
  4           448. Relator repeats and repleads and thereby incorporates each of the
  5    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  6    forth herein.
  7           449. Section 27-14-4 of the New Mexico Medicaid False Claims Act
  8    provides in pertinent part that:
  9                  “[A] person commits an unlawful act and shall be liable
                     to the state for three times the amount of damages that
 10                  the state sustains as a result of the act if the person: (A)
                     presents or causes to be presented to the state a claim for
 11                  payment under the medicaid program knowing that such
                     claim is false or fraudulent; . . . (C) makes, uses, or
 12                  causes to be made or used a record or statement to obtain
                     a false or fraudulent claim under the medicaid program
 13                  paid for or approved by the state knowing such record or
                     statement is false; (D) conspires to defraud the state by
 14                  getting a claim allowed or paid under the medicaid
                     program knowing that such claim is false or fraudulent;
 15                  (E) makes, uses, or causes to be made or used a record or
                     statement to conceal, avoid, or decrease an obligation to
 16                  pay or transmit money or property to the state, relative to
                     the medicaid program, knowing that such record or
 17                  statement is false . . .”
 18           450. Section 44-9-3 of the New Mexico Fraud Against Taxpayers Act
 19    provides that a person shall not:
 20                  (1) knowingly present, or cause to be presented . . . a
                     false or fraudulent claim for payment or approval; (2)
 21                  knowingly make or use, or cause to be made or used, a
                     false, misleading or fraudulent record or statement to
 22                  obtain or support the approval of or the payment on a
                     false or fraudulent claim; (3) conspire to defraud the state
 23                  or a political subdivision by obtaining approval or
                     payment on a false or fraudulent claim; or (4) conspire to
 24                  make, use or cause to be made or used, a false,
                     misleading or fraudulent record or statement to conceal,
 25                  avoid or decrease an obligation to pay or transmit money
                     or property to the state or a political subdivision.
 26
 27           451. Defendants, and each of them knowingly presented, or caused to
 28     presented, false or fraudulent claims for payment and/or false records or
      584458.1                                   -78-
           THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                               CLAIMS ACTS
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  1    statements to get claims paid; and or to conceal, avoid, or decrease an obligation
  2    to pay or transmit money to the State of New Mexico or its political subdivisions,
  3    including, but not limited to, the Employee Benefits Bureau, which insures state
  4    and local public body employees, the New Mexico Medicaid Program, and any
  5    other state or municipal healthcare programs.
  6             452. Additionally, Defendants, and each of them gave or caused to be
  7    given ‘kickbacks’ to physicians and other health care professionals to induce them
  8    to prescribe SUBSYS, in violation of state law, including N.M. Stat. § 30-44-7.
  9             453. Defendants, and each of them knowingly presented or caused to be
 10    presented false claims for payment to the State of New Mexico or its political
 11    subdivisions, creating liability for a false claims action pursuant to New Mexico’s
 12    Medicaid False Claims Act and Fraud Against Taxpayers Act.
 13             454. As a result of the conduct set forth in this count, the State of New
 14    Mexico paid the improper claims and suffered actual damages.
 15             455. Section 44-9-3 of the New Mexico Fraud Against Taxpayers Act
 16    provides in pertinent part that:
 17                    C.     A person who violates Subsection A of this section
                       shall be liable for:
 18
                           (1) three times the amount of damages sustained by a
 19                        state agency because of the violation;
 20                        (2) a civil penalty of not less than five thousand
                           dollars ($5,000) and not more than ten thousand
 21                        dollars ($10,000) for each violation;
 22                        (3) the costs of a civil action brought to recover
                           damages or penalties; and
 23
                           (4) reasonable attorney fees, including fees for state
 24                        agency counsel.
 25
                456. WHEREFORE, Relator respectfully requests that judgment be
 26
       entered in favor of the State of New Mexico and against Defendants, and each of
 27
       them, as follows: three times the amount of damages sustained by the State of
 28
      584458.1                                              -79-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1    New Mexico; a civil penalty of $10,000.00 for each violation; the costs of this
  2    Action; reasonable attorneys’ fees; and all other relief that this Honorable Court
  3    deems fit and proper.
  4    COUNT XXV - VIOLATION OF THE NEW YORK FALSE CLAIMS ACT
  5                 (NEW YORK CODE §39 - ARTICLE XIII §§ 187 et seq.)
  6             457. Relator repeats and repleads and thereby incorporates each of the
  7    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  8    forth herein.
  9             458. The New York False Claims Act (NYC §39 - Article XIII §§187 et
 10    seq.) provides in pertinent part as follows:
 11                    §189. Liability for certain acts.
 12                           1. Subject to the provisions of subdivision two of
                       this section, any person who:
 13
                       (a) knowingly presents, or causes to be presented, to any
 14                    employee, officer or agent of the state or a local
                       government, a false or fraudulent claim for payment or
 15                    approval;
 16                    (b) knowingly makes, uses, or causes to be made or
                       used, a false record or statement to get a false or
 17                    fraudulent claim paid or approved by the state or a local
                       government;
 18
                       (c) conspires to defraud the state or a local government
 19                    by getting a false or fraudulent claim allowed or paid;
 20                    ...
 21                    (g) knowingly makes, uses, or causes to be made or
                       used, a false record or statement to conceal, avoid, or
 22                    decrease an obligation to pay or transmit money or
                       property to the state or a local government; shall be
 23                    liable: (I) to the state for a civil penalty of not less than
                       six thousand dollars and not more than twelve
 24                    thousand dollars, plus three times the amount of damages
                       which the state sustains because of the act of that person;
 25                    and (ii) to any local government for three times the
                       amount of damages sustained by such local government
 26                    because of the act of that person.
 27
 28
      584458.1                                              -80-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
                                                                              Case No.: CV 13-5861 JLS (AJS)
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  1             459. Pursuant Section 188(3) of the New York False Claims Act, proof of
  2    specific intent to defraud is not required.
  3             460. Defendants, and each of them knowingly presented, or caused to
  4    presented, false or fraudulent claims for payment or approval; false records or
  5    statements to get a false or fraudulent claim paid; and/or to conceal, avoid, or
  6    decrease an obligation to pay or transmit money to the State of New York or its
  7    political subdivisions, including, but not limited to, the New York State Health
  8    Insurance Program, which provides health benefits to state and local government
  9    employees and retirees, the New York Medicaid Program, and any other state or
 10    municipal healthcare programs.
 11             461. Additionally, Defendants, and each of them gave or caused to be
 12    given ‘kickbacks’ to physicians and other health professionals to induce them to
 13    prescribe SUBSYS, in violation of state law, including N.Y. Soc. Serv. Law s
 14    366-d, 366-f.
 15             462. As a result of the conduct set forth in this count, the State of New
 16    York and its political subdivisions paid the improper claims and suffered actual
 17    damages.
 18             463. Pursuant to §190(7) of the New York False Claims Act, the court may
 19    award reasonable attorneys’ fees, reasonable expenses, and costs, against
 20    Defendants, and each of them.
 21             464. WHEREFORE, Relator respectfully requests that judgment be
 22    entered in favor of the State of New York and against Defendants, and each of
 23    them, as follows: a civil penalty of twelve thousand dollars, plus three times the
 24    amount of damages which the state sustained because of the acts of Defendants;
 25    plus costs, reasonable attorneys’ fees, reasonable expenses, and any and all further
 26    relief that this Honorable Court deems fit and proper.
 27
 28
      584458.1                                              -81-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
                                                                              Case No.: CV 13-5861 JLS (AJS)
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  1              COUNT XXVI - VIOLATION OF THE NORTH CAROLINA
  2                                          FALSE CLAIMS ACT
  3                      (NORTH CAROLINA STATUTES – §§1-605 –18)
  4
                465. Relator repeats and repleads and thereby incorporates each of the
  5
       allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  6
       forth herein.
  7
                466. Section 1-607 provides in pertinent part as follows:
  8
                       (a) Any person who commits any of the following acts
  9                    shall be liable to the State for three times the amount of
                       damages that the State sustains because of the act of that
 10                    person. A person who commits any of the following acts
                       also shall be liable to the State for the costs of a civil
 11                    action brought to recover any of those penalties or
                       damages and shall be liable to the State for a civil penalty
 12                    of not less than five thousand, five hundred dollars
                       ($5,500) and not more than eleven thousand dollars
 13                    ($11,000) for each violation:
 14                    (1) Knowingly presents or causes to be presented, a false
                       or fraudulent claim for payment or approval;
 15
                       (2) Knowingly makes, uses, or causes to be made or
 16                    used, a false record or statement material to a false or
                       fraudulent claim;
 17
                       (3) knowingly conspires to commit a violation of clause
 18                    (1), (2), (4), (5), (6), or (7) of this section;
 19                    ...
 20                    (7) Knowingly makes, uses, or causes to be made or
                       used, a false record or statement material to an obligation
 21                    to pay or transmit money or property to the State or
                       knowingly conceals or knowingly and improperly avoids
 22                    or decreases an obligation to pay money or transmit
                       property to the state . . .”
 23
                467. Defendants, and each of them knowingly presented, or caused to
 24
       presented, false or fraudulent claims for payment or approval; knowingly made or
 25
       used or caused the submission or use of false records or statements regarding
 26
       SUBSYS material to these claims; and/or false records or statements in order to
 27
       conceal, avoid, or decrease an obligation to pay or transmit money to the State of
 28
      584458.1                                              -82-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1    North Carolina, including, but not limited to, the North Carolina State Health Plan
  2    for Teachers and State Employees, and the North Carolina Medicaid Program.
  3    Defendants, and each of them, conspired among themselves and with others to do
  4    these things.
  5             468. Additionally, Defendants, and each of them gave or caused to be
  6    given ‘kickbacks’ to physicians and other health care professionals to induce them
  7    to prescribe Subsys, in violation of state law, including North Carolina Stat.
  8    69J.23 et. seq. Defendants, and each of them knowingly presented or caused to be
  9    presented false claims for payment to the State of North Carolina, including, but
 10    not limited to, the North Carolina State Health Plan for Teachers and State
 11    Employees, and the North Carolina Medicaid Program, creating liability for a
 12    false claims action pursuant to North Carolina’s False Claims Act.
 13             469. As a result of the conduct set forth in this count, the State of North
 14    Carolina paid the improper claims and has otherwise suffered actual damages.
 15             470. §§1-610 (d) and (e) also provide for an award against Defendants for
 16    reasonable attorneys’ fees, costs and expenses.
 17      COUNT XXVII - VIOLATION OF THE OKLAHOMA FALSE CLAIMS
                                   ACT
 18           (OKLAHOMA STATUTES – TITLE 63, SECTION 5053)
 19             471. Relator repeats and repleads and thereby incorporates each of the
 20    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 21    forth herein.
 22             472. Section 5053.1(B) provides in pertinent part as follows:
 23                    B. Any person who:
 24                    1. Knowingly presents, or causes to be presented, to an
                       officer or employee of the State of Oklahoma, a false or
 25                    fraudulent claim for payment or approval;
 26                    2. Knowingly makes, uses, or causes to be made or used,
                       a false record or statement to get a false or fraudulent
 27                    claim paid or approved by the state;
 28
      584458.1                                              -83-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1                 3. Conspires to defraud the state by getting a false or
                    fraudulent claim allowed or paid;
  2
                    ...
  3
                    7. Knowingly makes, uses, or causes to be made or used,
  4                 a false record to conceal, avoid, or decrease an obligation
                    to pay or transmit money or property to the state, is liable
  5                 to the State of Oklahoma for a civil penalty of not less
                    than Five Thousand Dollars ($5,000.00) and not more
  6                 than Ten Thousand ($10,000.00), unless a penalty is
                    imposed for the act of that person in violation of this
  7                 subsection under the Federal False Claims Act for the
                    same or a prior action, plus three time the amount of
  8                 damages which the state sustains because of the act of
                    that person.
  9
 10          473. Defendants, and each of them knowingly presented or caused to be
 11    presented false claims for payment to the State of Oklahoma, including, but not
 12    limited to, the Employees Group Insurance Division, which provides health
 13    insurance to state, education, and local government employees, and the Oklahoma
 14    Medicaid Program, creating liability for a false claims action pursuant to
 15    Oklahoma’s False Claims Act.
 16          474. Defendants, and each of them knowingly presented, or caused to
 17    presented, false records or statements regarding SUBSYS in order to get false or
 18    fraudulent claims paid; and/or to conceal, avoid, or decrease an obligation to pay
 19    or transmit money to the State of Oklahoma, including, but not limited to, the
 20    Employees Group Insurance Division and the Oklahoma Medicaid Program.
 21          475. As a result of the conduct set forth in this count, the State of
 22    Oklahoma paid the improper claims and has suffered actual damages.
 23          476. Pursuant to Section 5053.4 of the Oklahoma False Claims Act, an
 24    award of reasonable attorneys’ fees, costs and expenses is also to be awarded
 25    against Defendants.
 26          477. WHEREFORE, Relator respectfully requests that judgment be
 27    entered against Defendants, and each of them, and in favor of the State of
 28     Oklahoma as follows: a civil penalty of Ten Thousand ($10,000.00), (unless a
      584458.1                                 -84-
          THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                              CLAIMS ACTS
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  1    penalty is imposed for the act of that Defendants in violation of this subsection
  2    under the Federal False Claims Act for the same or a prior action), plus three time
  3    the amount of damages which the State of Oklahoma sustained because of the act
  4    of that person; plus costs, reasonable attorneys’ fees, expenses, and any and all
  5    further relief that this Honorable Court deems fit and proper.
  6      COUNT XXVIII - VIOLATION OF THESTATE FALSE CLAIMS ACT
  7                          (RHODE ISLAND CODE - CHAPTER 9-1.1)
  8             478. Relator repeats and repleads and thereby incorporates each of the
  9    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 10    forth herein.
 11             479. Pursuant to Chapter 9-1.1, of the State False Claims Act of the State
 12    of Rhode Island:
 13                    (a) Any person who:
 14                        (1) Knowingly presents, or causes to be presented, to
                           an officer or employee of the state or a member of the
 15                        guard a false or fraudulent claim for payment or
                           approval;
 16
                           (2) Knowingly makes, uses, or causes to be made or
 17                        used, a false record or statement to get a false or
                           fraudulent claim paid or approved by the state;
 18
                           (3) Conspires to defraud the state by getting a false or
 19                        fraudulent claim allowed or paid;
 20                        ...
 21                        (7) Knowingly makes, uses, or causes to be made or
                           used, a false record or statement to conceal, avoid or
 22                        decrease an obligation to pay or transmit money or
                           property to the state, is liable to the state for a civil
 23                        penalty of not less than five thousand dollars ($5,000)
                           and not more than ten thousand dollars ($10,000),
 24                        plus three (3) times the amount of damages which the
                           state sustains because of the act of that person. A
 25                        person violating this subsection (a) shall also be liable
                           to the state for the costs of a civil action brought to
 26                        recover any such penalty or damages.
 27
 28
      584458.1                                              -85-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1             480. Defendants, and each of them knowingly presented, or caused to
  2    presented, false claims for payment; and/or false records or statements SUBSYS
  3    in order get false claims paid; and/or to conceal, avoid, or decrease an obligation
  4    to pay or transmit money to the State of Rhode Island or its political subdivisions,
  5    including, but not limited to, the Office of Employee Benefits, which administers
  6    the State’s employee benefits programs, the Rhode Island Medicaid Program, and
  7    any other state or municipal healthcare programs.
  8             481. Additionally, Defendants, and each of them gave or caused to be
  9    given ‘kickbacks’ to physicians and other health professionals to induce them to
 10    prescribe SUBSYS, in violation of state law, including 40-8.2-1, et seq.
 11             482. Defendants, and each of them knowingly presented or caused to be
 12    presented false claims for payment to the State of Rhode Island or its political
 13    subdivisions, creating liability for a false claims action pursuant to Rhode Island’s
 14    State False Claims Act.
 15             483. As a result of the conduct set forth in this count, the State of Rhode
 16    Island paid the improper claims and suffered actual damages.
 17             484. Pursuant to Section 9-1.1-4 of the State False Claims Act, Defendants,
 18    and each of them are also liable for attorneys’ fees, costs and expenses.
 19             485. WHEREFORE, Relator respectfully requests that judgment be
 20    entered against Defendants, and each of them, and in favor of the State of Rhode
 21    Island as follows: a civil penalty of ten thousand dollars ($10,000), plus three (3)
 22    times the amount of damages which the state sustained because of the act of
 23    Defendants; plus an award to the state for the costs of this civil action; reasonable
 24    attorneys’ fees, costs and expenses; and any and all other and further relief as this
 25    Honorable Court deems fit and proper.
 26
 27
 28
      584458.1                                              -86-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1           COUNT XXIX - VIOLATION OF THE TENNESSEE MEDICAID
  2                                          FALSE CLAIMS ACT
  3                                   (TENNESSEE 71-5-182 et seq.)
  4
                486. Relator repeats and repleads and thereby incorporates each of the
  5
       allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  6
       forth herein.
  7
                487. Section 71-5-182 of the Tennessee Medicaid False Claims Act
  8
       provides in pertinent part:
  9
                       (a)(1) Any person who:
 10
                       (A) Presents, or causes to be presented, to the state a
 11                    claim for payment under the Medicaid program knowing
                       such claim is false or fraudulent;
 12
                       (B) Makes, uses, or causes to be made or used, a record
 13                    or statement to get a false or fraudulent claim under the
                       Medicaid program paid for or approved by the state
 14                    knowing such record or statement is false;
 15                    (C) Conspires to defraud the state by getting a claim
                       allowed or paid under the Medicaid program knowing
 16                    such claim is false or fraudulent; or
 17                    (D) Makes, uses, or causes to be made or used, a record
                       or statement to conceal, avoid, or decrease an obligation
 18                    to pay or transmit money or property to the state, relative
                       to the Medicaid program, knowing such record or
 19                    statement is false; is liable to the state for a civil penalty
                       of not less than five thousand dollars ($5,000) and not
 20                    more than ten thousand dollars ($10,000), plus three (3)
                       times the amount of damages which the state sustains
 21                    because of the act of that person.
 22
                488. Defendants, and each of them, knowingly presented or caused to be
 23
       presented false claims for payment to the Tennessee Medicaid Program creating
 24
       liability for a false claims action pursuant to Tennessee’s Medicaid False Claims
 25
       Act.
 26
                489. Defendants, and each of them, knowingly used or caused the use of
 27
       false or fraudulent records or statements in order to either get false claims paid.
 28
      584458.1                                              -87-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1             490. As a result of the conduct set forth in this count, the State of
  2    Tennessee paid the improper Medicaid claims and has suffered actual damages.
  3             491. Pursuant to Section 71-5-183 of the Tennessee Medicaid False Claims
  4    Act, Defendants, and each of them are also liable for attorneys’ fees, costs and
  5    expenses.
  6             492. WHEREFORE, Relator respectfully requests that judgment be
  7    entered against Defendants, and each of them, and in favor of the State of
  8    Tennessee as follows: a civil penalty of ten thousand dollars ($10,000), plus three
  9    (3) times the amount of damages which the state sustains because of the act of that
 10    person; plus an award of attorneys’ fees, costs and expenses; and all further relief
 11    that this Honorable Court deems fit and proper.
 12                          COUNT XXX - VIOLATION OF VIRGINIA
 13                              FRAUD AGAINST TAXPAYERS ACT
 14                               (VIRGINIA CODE 8.01-216.1 et seq.)
 15
                493. Relator repeats and repleads and thereby incorporates each of the
 16
       allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 17
       forth herein.
 18
                494. Section 8.01-216.3 of the Virginia Fraud Against Taxpayers Act
 19
       provides in pertinent part as follows:
 20
                       A. Any person who:
 21
                       1. Knowingly presents, or causes to be presented, to an
 22                    officer or employee of the Commonwealth a false or
                       fraudulent claim for payment or approval;
 23
                       2. Knowingly makes, uses, or causes to be made or used,
 24                    a false record or statement to get a false or fraudulent
                       claim paid or approved by the Commonwealth;
 25
                       3. Conspires to defraud the Commonwealth by getting a
 26                    false or fraudulent claim allowed or paid;
 27                    ...
 28
      584458.1                                              -88-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
                                                                              Case No.: CV 13-5861 JLS (AJS)
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  1                    7. Knowingly makes, uses, or causes to be made or used,
                       a false record or statement to conceal, avoid, or decrease
  2                    an obligation to pay or transmit money or property to the
                       Commonwealth; shall be liable to the Commonwealth for
  3                    a civil penalty of not less than $5,000 and not more than
                       $10,000, plus three times the amount of damages
  4                    sustained by the Commonwealth.
  5
  6             495. Defendants, and each of them obtained or attempted to obtain benefits
  7    or payments pursuant to the Virginia Fraud Against Taxpayers Act and any
  8    amendments thereto as provided for in Va. Code § 8.01-216.3 in a greater amount
  9    than that to which it was entitled by means of willful false statements and
 10    misrepresentations regarding SUBSYS, which caused a loss to the
 11    Commonwealth of Virginia and its political subdivisions, including, but not
 12    limited to, the Virginia Medicaid Program, and any other state or municipal
 13    healthcare programs.
 14             496. Additionally, Defendants, and each of them gave or caused to be
 15    given ‘kickbacks’ to physicians and other health professionals to induce them to
 16    prescribe SUBSYS, in violation of state law, including Virginia Code § 32.1-315.
 17             497. For each violation of the statute, the Commonwealth of Virginia is
 18    entitled to recover treble damages from Defendants, and each of them. See Va.
 19    Code § 8.01-216.3.
 20             498. WHEREFORE, the Relator respectfully requests this Court to enter
 21    judgment for the Commonwealth of Virginia and its political subdivisions and
 22    against Defendants, and each of them, for an amount of three times the amount of
 23    damages sustained by the Commonwealth of Virginia and a civil penalty of
 24    $10,000 for each act of submitting false statements by Defendants.
 25
 26
 27
 28
      584458.1                                              -89-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1   COUNT XXXI - VIOLATION OF THE WASHINGTON STATE MEDICAID
  2                                    FRAUD FALSE CLAIMS ACT
  3                                           RCE 74.66.005 et. seq
  4             499. Relator repeats and repleads and thereby incorporates each of the
  5    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  6    forth herein.
  7             500. A person is “liable to the government entity for a civil penalty of not
  8    less than five thousand five hundred dollars and not more than eleven thousand
  9    dollars, plus three times the amount of damages which the government entity
 10    sustains because of the act of that person if the person: (a) Knowingly presents or
 11    causes to be presented a false or fraudulent claim for payment or approval; (b)
 12    Knowingly makes, uses, or causes to be made or used, a false record or statement
 13    material to a false or fraudulent claim; (c) conspires to commit one or more of the
 14    violations of this subsection (1); (d) has possession, custody, or control of
 15    property or money used, or to be used by the government entity and, knowingly
 16    delivers, or causes to be delivered, less than all of that money or property . . . (g)
 17    Knowingly makes, uses, or causes to be made or used, a false record or statement
 18    material to an obligation to pay or transmit money or property to the government
 19    entity.” Wash. Rev. Code Ann. § 74.66.020.
 20             501. Defendants, and each of them knowingly presented, or caused to
 21    presented, false or fraudulent claims for payment or approval; false records or
 22    statements to get a false or fraudulent claim paid; and/or to conceal, avoid, or
 23    decrease an obligation to pay or transmit money to the Washington State Medicaid
 24    Program.
 25             502. Additionally, Defendants, and each of them gave or caused to be
 26    given ‘kickbacks’ to physicians and other health professionals to induce them to
 27    prescribe SUBSYS, in violation of state law, including RCW 74.09.240.
 28
      584458.1                                              -90-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1             503. Additionally, Defendants, and each of them had possession, custody,
  2    or control over money which should have been delivered to the Washington State
  3    Medicaid Program, and caused less than all of that money to be delivered.
  4             504. As a result of the conduct set forth in this count, the State of
  5    Washington paid the improper Medicaid claims and has suffered additional actual
  6    damages.
  7             505. Pursuant to RCW 74.66.070(1)(c) of the Washington State Medicaid
  8    Fraud False Claims Act, the court may award reasonable attorneys’ fees,
  9    reasonable expenses, and costs, against Defendants, and each of them..
 10             506. WHEREFORE, Relator respectfully requests that judgment be
 11    entered in favor of the State of Washington and against Defendants, and each of
 12    them, as follows: a civil penalty of eleven thousand dollars, plus three times the
 13    amount of damages which the state sustained because of the acts of Defendants;
 14    plus costs, reasonable attorneys’ fees, reasonable expenses, and any and all further
 15    relief that this Honorable Court deems fit and proper.
 16
        COUNT XXXII - VIOLATION OF THE ALLEGHENY COUNTY FALSE
 17
                                            CLAIMS ORDINANCE
 18
                           (ALLEGHENY COUNTY CODE § 485-1 et seq.)
 19
                507. Relator repeats and repleads and thereby incorporates each of the
 20
       allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 21
       forth herein.
 22
                508. Pursuant to Section 485-2 of the Allegheny County False Claims
 23
       Ordinance,
 24                        A. Any Person who commits any of the
                           following prohibited acts shall be liable to the
 25                        County for three times the amount of damages
                           which the County sustains because of such
 26                        action, and shall be liable for attorneys’ fees
                           and costs for any civil action brought to recover
 27                        such damages:
 28
      584458.1                                              -91-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1                        (1) Knowingly presents or causes to be
                           presented a false claim for payment or
  2                        approval;
  3                        (2) Knowingly makes, uses or causes to be
                           made or used a false record or statement
  4                        material to a false or fraudulent claim;
  5                        (3) Conspires to commit a violation of
                           Subsection A(1), (2), . . . ;
  6            ...
  7                         (7) Knowingly makes, uses or causes to be
                           made or used a false record or statement to
  8                        conceal, avoid or decrease an obligation to pay
                           or transmit money or property to the County.
  9
                509. Defendants, and each of them knowingly presented, or caused to
 10
       presented, false or fraudulent claims for payment and/or false records or
 11
       statements regarding SUBSYS in order to get false or fraudulent claims paid
 12
       and/or to conceal, avoid, or decrease an obligation to pay or transmit money to
 13
       Allegheny County. In addition, Defendants conspired to do the same.
 14
                510. As a result of the conduct set forth in this count, Allegheny County
 15
       paid the improper claims and has suffered actual damages in excess of $10,000.
 16
                511. Pursuant to Section 485-2 of the Allegheny County False Claims
 17
       Ordinance, the court may also award attorneys’ fees and costs against the
 18
       Defendants.
 19
                512. WHEREFORE, Relator respectfully requests that judgment be
 20
       entered in favor of Allegheny County and against Defendants, and each of them,
 21
       as follows: three times the amount of damages sustained by the County of
 22
       Allegheny; the costs of this Action; reasonable attorneys’ fees; and all other relief
 23
       that this Honorable Court deems fit and proper.
 24
 25
 26
 27
 28
      584458.1                                              -92-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1     COUNT XXXIII - VIOLATION OF THE BROWARD COUNTY FALSE
  2                                       CLAIMS ORDINANCE
  3                        (BROWARD COUNTY CODE § 1-279 et seq.)
  4
              513. Relator repeats and repleads and thereby incorporates each of the
  5
       allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  6
       forth herein.
  7
              514. Section 1-279 of the Broward County False Claims Ordinance
  8
       provides in pertinent part as follows:
  9                a. The following action(s) shall constitute a violation of
                      this article:
 10
                     (1) Any person who knowingly presents or causes to be
 11                      presented to the County, or to any officer, employee,
                         agent, or consultant of the County, a false or
 12                      fraudulent claim for payment or approval;
 13                  (2) Any person who knowingly makes, uses, or causes to
                         be made or used, a false record or statement to get a
 14                      false, fraudulent, or inflated claim paid or approved
                         by the County;
 15
                     (3) Any person who conspires to defraud the County by
 16                     facilitating the payment of a false, fraudulent, or
                        inflated claim allowed or paid by the County; . . .
 17
                     (7) Any person who knowingly makes, uses, or causes to
 18                     be made or used, a false record or statement to
                        conceal, avoid, or decrease an obligation to pay or
 19                     transmit money or property to the County.
 20           515. Defendants, and each of them knowingly presented, or caused to
 21    presented, false or fraudulent claims for payment and/or false records or
 22    statements regarding SUBSYS in order to get false or fraudulent claims paid
 23    and/or to conceal, avoid, or decrease an obligation to pay or transmit money to
 24    Broward County. In addition, Defendants conspired to do the same.
 25           516. As a result of the conduct set forth in this count, Broward County paid
 26    the improper claims and has suffered actual damages.
 27           517. Pursuant to Section 1-279 of the Broward County False Claims
 28     Ordinance, any person found to have submitted a false claim shall be liable for
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           THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                               CLAIMS ACTS
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  1    “an amount equal to three (3) times that part of the claim which is false,
  2    fraudulent, or inflated.” The court may also award all costs and fees, including
  3    reasonable legal, expert, and consulting fees, incurred by the County to review,
  4    defend, and evaluate the claim against the Defendants.
  5             518. WHEREFORE, Relator respectfully requests that judgment be
  6    entered in favor of Broward County and against Defendants, and each of them, as
  7    follows: three times the amount of damages sustained by Broward County; the
  8    costs of this Action; reasonable attorneys’ fees; and all other relief that this
  9    Honorable Court deems fit and proper.
 10
       COUNT XXXIV - VIOLATION OF THE MIAMI-DADE COUNTY FALSE
 11
                                            CLAIMS ORDINANCE
 12
                          (MIAMI-DADE COUNTY CODE § 21-255 et seq.)
 13
                519. Relator repeats and repleads and thereby incorporates each of the
 14
       allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 15
       forth herein.
 16
                520. Section 21-285 of the Miami-Dade County False Claims Ordinance
 17
       provides in pertinent part as follows:
 18
 19                    (1) The following action(s) shall constitute a violation of
                           this article:
 20
                       (a) Any person who knowingly presents or causes to be
 21                        presented to the County, or to any officer, employee,
                           agent, or consultant of the County, a false or
 22                        fraudulent claim for payment or approval;
 23                    (b) Any person who knowingly makes, uses, or causes to
                           be made or used, a false record or statement to get a
 24                        false, fraudulent, or inflated claim paid or approved
                           by the County;
 25
                       (c) Any person who conspires to defraud the County by
 26                        facilitating the payment of a false, fraudulent, or
                           inflated claim allowed or paid by the County; . . .
 27
                       (g) Any person who knowingly makes, uses, or causes to
 28                        be made or used, a false record or statement to
      584458.1                                      -94-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1                        conceal, avoid, or decrease an obligation to pay or
                           transmit money or property to the County.
  2
  3             521. Defendants, and each of them knowingly presented, or caused to
  4    presented, false or fraudulent claims for payment and/or false records or
  5    statements regarding SUBSYS in order to get false or fraudulent claims paid
  6    and/or to conceal, avoid, or decrease an obligation to pay or transmit money to
  7    Miami-Dade County. In addition, Defendants conspired to do the same.
  8             522. As a result of the conduct set forth in this count, Miami-Dade County
  9    paid the improper claims and has suffered actual damages.
 10             523. Pursuant to Section 21-258 of the Miami-Dade County False Claims
 11    Ordinance, any person found to have submitted a false claim shall be liable for
 12    “an amount equal to three (3) times that part of the claim which is false,
 13    fraudulent, or inflated.” The court may also award all costs and fees (including
 14    reasonable legal, expert, and consulting fees) incurred by the County to review,
 15    defend, and evaluate the claim against the Defendants.
 16             524. WHEREFORE, Relator respectfully requests that judgment be
 17    entered in favor of Miami-Dade County and against Defendants, and each of
 18    them, as follows: three times the amount of damages sustained by Miami-Dade
 19    County; all costs of this Action; reasonable attorneys’ fees; and all other relief that
 20    this Honorable Court deems fit and proper.
 21             COUNT XXXV - VIOLATION OF THE CITY OF CHICAGO
 22                                          FALSE CLAIMS ACT
 23                     (CHICAGO MUNICIPAL CODE § 1-22-010 et seq.)
 24
                525. Relator repeats and repleads and thereby incorporates each of the
 25
       allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 26
       forth herein.
 27
 28
      584458.1                                              -95-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1             526. Pursuant to Section 1-22-020 of the Municipal Code of Chicago, Any
  2    person who:
                  (1) knowingly presents or causes to be presented, to an
  3                   official or employee of the city a false claim for
                      payment or approval;
  4
                       (2) knowingly makes, uses, or causes to be made or used
  5                        a false record or statement to get a false or fraudulent
                           claim paid or approved by the city;
  6
                       (3) conspires to defraud the city by getting a false or
  7                        fraudulent claim allowed or paid; . . .
  8                    (7) knowingly makes, uses, or causes to be made or used,
                          a false record or statement to conceal, avoid or
  9                       decrease an obligation to pay or transmit money or
                          property to the city, is liable to the city for a civil
 10                       penalty of not less than $5,000.00 and not more than
                          $10,000.00, plus three times the amount of damages
 11                       which the city sustains because of the act of that
                          person.
 12
 13             527. Defendants, and each of them knowingly presented, or caused to
 14    presented, false or fraudulent claims for payment and/or false records or
 15    statements regarding Subsys in order to get false or fraudulent claims paid and/or
 16    to conceal, avoid, or decrease an obligation to pay or transmit money to the City
 17    of Chicago. In addition, Defendants conspired to do the same.
 18             528. As a result of the conduct set forth in this count, the City of Chicago
 19    paid the improper claims and has suffered actual damages.
 20             529. Pursuant to Section 1-22-020 of the City of Chicago False Claims
 21    Ordinance, the court may also award attorneys’ fees and costs against the
 22    Defendants.
 23             530. WHEREFORE, Relator respectfully requests that judgment be
 24    entered in favor of the City of Chicago and against Defendants, and each of them,
 25    as follows: three times the amount of damages sustained by the City of Chicago;
 26    the costs of this Action; reasonable attorneys’ fees; and all other relief that this
 27    Honorable Court deems fit and proper.
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              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
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  1          COUNT XXXVI - ILLEGAL RETALIATION IN VIOLATION OF
  2           FEDERAL FALSE CLAIMS ACT; 31 U.S.C. §3730(h), AGAINST
  3                             DEFENDANT INSYS THERAPEUTICS
  4             531. Relator repeats and repleads and thereby incorporates each of the
  5    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
  6    forth herein.
  7             532. Because she reported about and attempted to stop some of the
  8    fraudulent conduct of Defendants, Relator was threatened, discriminated against,
  9    and ultimately fired by INSYS Therapeutics because of lawful acts done by her in
 10    furtherance of conduct protected by 31 U.S.C. §3729, et. seq.
 11             533. Relator is entitled to all relief necessary to make her whole, including
 12    reinstatement with the same seniority to the position she had before she was
 13    illegally fired, 2 times the amount of back pay lost, interest on the back pay, and
 14    compensation for any special damages sustained as a result of this illegal
 15    retaliation.
 16
            COUNT XXXVII - ILLEGAL RETALIATION IN VIOLATION OF
 17
             FLORIDA FALSE CLAIMS ACT; §68.088 FLORIDA STATUTES,
 18                           AGAINST INSYS THERAPEUTICS, ONLY
 19             534. Relator repeats and repleads and thereby incorporates each of the
 20    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 21    forth herein.
 22             535. Through reporting about and attempting to stop some of the fraudulent
 23    conduct of Defendants, Relator was threatened, discriminated against, and
 24    ultimately fired by INSYS Therapeutics because of lawful acts done by her in
 25    furtherance of conduct protected under this Act.
 26             536. By its terms, §68.088 protects “[A]ny employee” who engages in
 27    protected conduct, thus broadening, for purposes of the Florida FCA, the more
 28
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              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
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  1    limited set of employees protected under the more general statute, the “Whistle-
  2    Blower Act”, §§ 112.3187 – 112.31895.
  3             537. Moreover, because of the seal requirements peculiar to the Florida
  4    False Claims Act, Relator is, by definition, excused from strict compliance with
  5    the requirement that she report the fraud to the Florida Commission on Human
  6    Relations and follow the administrative process for required reporting while this
  7    Action remains under seal.
  8             538. Relator is entitled to all relief necessary to make her whole, including
  9    reinstatement with the same seniority to the position she had before she was
 10    illegally fired, back pay lost, interest on the back pay, and compensation for any
 11    special damages sustained as a result of this illegal retaliation.
 12
            COUNT XXXVIII - ILLEGAL RETALIATION IN VIOLATION OF
 13
          PUBLIC POLICY; §§448.102 – 104, FLORIDA STATUTES, AGAINST
 14
                                     INSYS THERAPEUTICS, ONLY
 15
 16             539. Relator repeats and repleads and thereby incorporates each of the
 17    allegations set forth in Paragraphs 1 through 266, inclusive, as though fully set
 18    forth herein.
 19             540. Relator objected to INSYS’s illegal practices which were endangering
 20    patients and resisted those practices. This was known to her supervisors to whom
 21    she complained. She was fired in retaliation for this.
 22             541. Relator is entitled to all relief necessary to make her whole, including
 23    reinstatement with the same seniority to the position she had before she was
 24    illegally fired, back pay lost, interest on the back pay, and compensation for any
 25    special damages sustained as a result of this illegal retaliation
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              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
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  1                                         PRAYER FOR RELIEF
  2            WHEREFORE, the Relator Maria Guzman, acting on behalf of and in the
  3   name of the United States of America, and the various States and on her own
  4   behalf, prays that judgment be entered against Defendant, and each of them, for
  5   violation of the False Claims Acts as follows:
  6            1. In favor of the United States against the Defendants and each of them for
  7                treble damages to the Federal Government from the submission of false
  8                claims, and the maximum civil penalties for each violation of the False
  9                Claims Act;
 10            2. In favor of the Relator for the maximum amount pursuant to 31 U.S.C. §
 11                3739(d) to include reasonable expenses, attorney fees, and costs incurred
 12                by the Relator;
 13            3. In favor of each State and County and Municipality identified above
 14                against the Defendants and each of them for treble damages from the
 15                submission of false claims, and the maximum civil penalties for each
 16                violation of the State and County and Municipal False Claims Acts;
 17            4. In favor of Relator for the maximum amount allowed pursuant to each
 18                State and County and Municipal False Claims Act;
 19            5. For all costs of this civil action;
 20            6. For the Relator on her retaliation causes of action under 31 U.S.C.
 21                §3730(h), against Defendant INSYS Therapeutics, only, reinstatement
 22                with the same seniority to the position she had before she was illegally
 23                fired, 2 times the amount of back pay lost, interest on the back pay, and
 24                compensation for any special damages sustained as a result of this illegal
 25                retaliation.
 26            7. For the Relator on her causes of action under §68.088 Florida Statutes
 27                and §§448.102 – 104, Florida statutes, against Defendant INSYS
 28                Therapeutics, only, all relief necessary to make her whole, including
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              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
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  1                reinstatement with the same seniority to the position she had before she
  2                was illegally fired, back pay lost, interest on the back pay, and
  3                compensation for any special damages sustained as a result of this illegal
  4                retaliation; and
  5            8. In favor of the Relator, the United States, and each State and county and
  6                municipality set forth above for further relief as this court deems just and
  7                equitable.
  8
  9   Dated: August 13, 2018                         Respectfully submitted,
 10                                                  PHILLIPS & COHEN LLP
                                                     LAW OFFICE OF MARK KLEINMAN
 11
 12
                                                     By: /s/ Erika A. Kelton
 13                                                  ERIKA A. KELTON
 14
 15                                                  By: /s/ Mark Kleiman
 16                                                  MARK KLEIMAN

 17                                                  Attorneys for Qui Tam Plaintiff
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 20
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              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
                                                  CLAIMS ACTS
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  1   V.        DEMAND FOR A JURY TRIAL
  2             Pursuant to Rule 38 of the Federal Rules of Civil Procedure and pursuant to
  3   the local rules of this Court, the Relator demands a jury trial as to all issues so
  4   triable
  5
  6   Dated: August 13, 2018                         Respectfully submitted,
  7                                                  PHILLIPS & COHEN LLP
                                                     LAW OFFICE OF MARK KLEINMAN
  8
  9
                                                     By: /s/ Erika A. Kelton
 10                                                  ERIKA A. KELTON
 11
 12                                                  By: /s/ Mark Kleiman
                                                     MARK KLEIMAN
 13
 14                                                  Attorneys for Qui Tam Plaintiff
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              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
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  1
  2                                  Certificate of Service
      I am over the age of 18 and not a party to this action. My business address is
  3
      Phillips & Cohen LLP, 100 The Embarcadero, Suite 300, San Francisco, CA
  4   94105. This is to certify that on August 9, 2018, I caused a true copy of the
      foregoing “Third Amended Complaint for Violations of the Federal False Claims
  5
      Act and State False Claims Acts” to be served by certified mail on each of the
  6   parties of record and addressed as follows:
                                       SERVICE LIST
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       United States Attorney’s Office                      United States Attorney's Office
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      584458.1                                             -102-
              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
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 28
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              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
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 12    Andrew F. Szefi, Esq., County Solicitor              Bertha Henry
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 14    Tel: 412-350-1120                                    County Administrator: 954-357-7362
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 17    Office of the Mayor                                  City Clerk
       Stephen P. Clark Center                              City Hall Office
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       Miami, Florida 33128                                 Room 107
 19    305-375-5071                                         Chicago, IL 60602
       mayor@miamidade.gov                                  (312) 742-5375
 20                                                         cityclerk@cityofchicago.org
 21
               Executed August 13, 2018 at San Francisco, California.
 22
 23
      T.J. Burdetti                                               /s/ T. J. Burdetti
 24   Type or Print Name                                          Signature
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              THIRD AMENDED COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT AND STATE FALSE
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